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                     Exhibit 1
(June 23, 2022 Interview With State Prosecutors at Jail)
(Redactions by Government, Unredacted Copy Requested)
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                                                                                     1
     1
     2          (INTERVIEW OF JOEL GREENBERG, #EI-32-0087, 6/23/22)
     3
     4    (The following may contain unintelligible or misunderstood
     5    words due to the recording quality. The audio was poor and
     6      broken up, and the parties continually talked over each
     7    other drowning out many words, and voices were very garbled
     8                            in places.)
     9
    10            TC = INSPECTOR TROY COPE
    11            LM = SA SUPERVISOR LOUIS NEGRET
    12            SS = CHIEF ASA STACEY SALMONS
    13            JG = JOEL GREENBERG
    14            FS = FRITZ SCHELLER, ESQ.
    15
    16    TC:     Okay. The date is Thursday, June 23rd, 2022; the
    17            time is approximately 1039 hours. My name's
    18            Inspector Troy Cope with the Florida Department of
    19            Law Enforcement, Office of Executive Investigations,
    20            Public Corruptions Unit.
    21
    22            This is in reference to case number EI-32-0087.
    23            We're currently here at the Orange County Jail in
    24            the F Wing in the visitation area. Um, and for the
    25            record, I want to introduce everybody before we go
    26            further so I'm going to turn it over to you, Louis.
    27
    28    LM:     Special Agent Supervisor Louis Negret with the
    29            Florida Department of Law Enforcement, Office of
    30            Executive Investigations.
    31
    32    SS:     Chief Assistant State Attorney Stacey Salmons with
    33            the Seminole County State Attorney's Office, 18th
    34            Judicial Circuit.
    35
    36    FS:     Uh, Fritz Scheller.                 I'm Joel Greenberg's defense
    37            attorney.
    38
    39    TC:     Okay. And -- and Mr. Greenberg, could I get you to
    40            state and spell your name?
    41
    42    FS:     Take your mask off.
    43
    44    JG:     Joel Greenberg, J-O-E-L, G-R-E-E-N-B-E-R-G.
    45
    46    TC:     And what's your date of birth?
    47
    48    JG:     February 4th, 1985.
    49
    50    TC:     Okay.       And for the record, are you here speaking to

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                                                                            2
     1            us free and voluntarily?
     2
     3    JG:     I am.
     4
     5    TC:     Do you understand that FDLE is conducting a criminal
     6            investigation regarding, uh, the Senate District 9
     7            election and campaign finance violations?
     8
     9    JG:     Yes.
    10
    11    TC:     Okay. With that I'm going to turn it over to Stacey
    12            for the preamble. And what I'm going to do is move
    13            the recorder and just give it a second 'cause it
    14            kind of cuts out.
    15
    16    SS:     Mr. Greenberg, as I said, my name is Stacey Salmons.
    17            I'm an assistant state attorney. Pursuant to
    18            Florida State Statute and case law, what we are
    19            conducting here today is called a State Attorney
    20            investigative interview. In a minute I'm going to
    21            place you under oath.
    22
    23            When an assistant state attorney puts an individual
    24            under oath, what you're doing is technically
    25            testifying before me, which means that this becomes
    26            an official proceeding for purposes of the perjury
    27            statute. If you lie to a prosecutor under oath in
    28            this type of environment, even though it's somewhat
    29            relaxed -- we're conducting an interview, and it's
    30            with regard to a material matter; you could be
    31            charged with a third-degree felony of perjury. Do
    32            you understand that?
    33
    34    JG:     I do.
    35
    36    SS:     I say that not because I think you're going to lie
    37            to me, but because I want you to understand that
    38            although this is a somewhat relaxed environment by
    39            way of the interview, what you are doing is
    40            tantamount to testifying in court before a judge.
    41            Do you understand that?
    42
    43    JG:     I do.
    44
    45    SS:     So it becomes very critical that you tell us the
    46            truth at all stages of the interview in response to
    47            any questions that I ask, any questions that the
    48            inspectors ask or any questions even that your
    49            attorney asks in the context of this. Do you
    50            understand?

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     1
     2    JG:     I do.
     3
     4    SS:     Um, I have had this conversation with your attorney
     5            telephonically. I want to make sure I put it on the
     6            record with you. Since this is a voluntary
     7            interview that you are giving us as it relates to
     8            this investigation, we are making no promises. We
     9            are giving you no assurances as it relates to any
    10            type of implications for any pending sentence or
    11            consequence that you may have in your federal case
    12            in the U.S. Middle District. Do you understand
    13            that?
    14
    15    JG:     I do.
    16
    17    SS:     Okay. In a moment I'm going to place you under
    18            oath. The oath that you take to me is the same type
    19            of oath that you would take before a judge or a
    20            clerk of the court in open court. Do you have any
    21            questions before I do that?
    22
    23    JG:     I don't.
    24
    25    SS:     Inspectors, anything to add?
    26
    27    TC:     No, ma'am.
    28
    29    SS:     Mr. Scheller, anything to add?
    30
    31    FS:     No, thank you.
    32
    33    SS:     Very good. If you would please, sir, raise your
    34            right hand. And for purposes of the record I've
    35            confirmed your identity because I know what you look
    36            like, sir, when you've taken your mask down. Do you
    37            solemnly swear or affirm that the testimony you're
    38            about to give is the truth, the whole truth and
    39            nothing but the truth so help you God?
    40
    41    JG:     I do.
    42
    43    SS:     Very good.
    44
    45    TC:     Okay. I'm going to move the recorder here so it's
    46            between us and -- there we go. Okay. What -- what
    47            I want to do, just, um -- can you tell me -- and --
    48            and -- what you know about the arrest that we
    49            alluded to with the campaign financing with Senate
    50            District 9 that you've been exposed to in the news,

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Page 4 redacted for the following reason:
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                                                                                           5
     1
     2    JG:     With either                                    So a number of years I
     3            would -- would say.
     4
     5    TC:     So would you say it's more than acquaintance; they
     6            might have been best friends or -- or very friendly
     7            with each other?
     8
     9    JG:     Close friends, yeah.
    10
    11    TC:     Close friends.             Okay.
    12
    13    JG:     Yeah.
    14
    15    TC:     Do you know who Benjamin Paris is?
    16
    17    JG:     I do.
    18
    19    TC:     Can you please describe how you became acquainted
    20            with him.
    21
    22    JG:     I met Ben Paris in 2017 when he, um, became -- was
    23            elected either mayor or commissioner of Longwood. I
    24            met him through
    25
    26                       And, uh, we both -- we both were in -- in
    27            government so we both kind of knew each other
    28            afterwards, and we remained friendly and cordial and
    29            stayed in contact. But I met him in 2017.
    30
    31    TC
    32
    33
    34    JG
    35
    36    TC
    37
    38    JG
    39
    40    TC
    41
    42    JG
    43
    44
    45    TC
    46
    47    JG
    48
    49    TC:     -- the -- the -- I'm sorry.                     Did I -- I interrupted
    50            you. I'm --

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     1
     2    JG:     No, no, no.
     3
     4    TC:     -- okay. And the last individual related to -- to
     5            our case was Jestine Iannotti. Do you have any --
     6            do you know who she is?
     7
     8    JG:     No.
     9
    10    TC:     All right.          Have you ever seen her before?
    11
    12    JG:     No.
    13
    14    TC:     Have you saw pictures or anything?
    15
    16    JG:     (No audible response).
    17
    18    TC:     Okay.       Had you ever heard of her name, uh, ever come
    19            up?
    20
    21    JG:     No.
    22
    23    TC:     Okay.       And again, I know this is --
    24
    25    JG:     I don't believe so.                 I don't believe I've met her.
    26
    27    TC:     Oh, sure. Okay. And then I know another name
    28            that's commonly associated, obviously because of the
    29            candidates that were in Senate District 9, do you
    30            know current State Senator Jason Brodeur?
    31
    32    JG:     Yes.
    33
    34    TC:     How do you know him?                 What's your relationship?
    35
    36    JG:     I met Jason at -- during the 2016 campaign season is
    37            when I initially met Jason. You bump into people
    38            who were running for office and -- and who hold
    39            office in the Republican circle in Seminole County,
    40            and initially I met him there.
    41
    42
    43
    44
    45    TC:     Uh, would it be safe to say that Jason Brodeur is
    46            close with               ?
    47
    48    JG:     Yes.
    49
    50    TC:     Acquaintances, friends?

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     1
     2    JG:     Yes.      Very close.
     3
     4    TC:     Okay. All right. And I'm -- for right now I want
     5            to stay pretty specific to -- to our case and -- and
     6            -- and going from there. So in 2020 there was a
     7            primary and general election, and you were running
     8            at some point to also continue your term as a tax
     9            collector; is that correct?
    10
    11    JG:     Yes.
    12
    13    TC:     Okay. So at any time did you, um, discuss
    14            campaigning with Eric Foglesong?
    15
    16    JG:     When you say campaigning?
    17
    18    TC:     In general. Like you said, you know, he's a
    19            political operative.
    20
    21    JG:     Yeah.
    22
    23    TC:     Were you party to any discussions that talked about
    24            Eric Foglesong being involved in Seminole County
    25            elections?
    26
    27    JG:     Yes. I want to -- yes. Yes, I was. Um, to the
    28            extent that he was involved, wasn't exactly sure.
    29            But the conversations that we would have wouldn't
    30            just be a one-time conversation. Any time we were
    31            at the back porch over at                  house
    32            having drinks or whatever, I mean, we would -- we
    33            would -- we would shoot the shit over all sorts of
    34            stuff. Um, stuff that he's done in previous
    35            elections and stuff that, you know, we'd be working
    36            on for current elections. And some of it I would
    37            pay attention and -- and retain information, some of
    38            it I wouldn't. But, yeah, so on and off about just
    39            the overall campaign season and what's going on.
    40
    41    TC:     Okay. Um --
    42
    43    JG:     In 2018 we -- we were up against each other.
    44
    45    TC:     Okay.
    46
    47    JG:     He ran the -- the sheriff's race down here.
    48
    49                    . Um, so that's where we initially kind of
    50            butted heads in -- in the political world.

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     1
     2    TC:     Okay. And so specifically, um, as we hone in
     3            with -- with Mr. Foglesong, do you recall
     4            discussions that you were party to or that you had
     5            with him regarding Jason Brodeur's campaign?
     6
     7    JG:     Not specific conversation, no. And, um, he was
     8            present at            house when the topic would be
     9            brought up of one of the strategies used was
    10            throwing in a third-party candidate.
    11
    12    TC:     Okay.
    13
    14    JG:     And I remember talking to          about it and
    15            asking him -- and this would have been either late
    16            2019 or early 2020 -- about Jason's race and what
    17            they were going to do for it.
    18                                    .
    19
    20    TC:     Okay.
    21
    22    JG:                           .
    23
    24    TC:     Did he expand on why -- what -- what he was having
    25            handled?
    26
    27    JG:     No.
    28
    29    TC:     Did -- and was -- was this Dorworth saying this to
    30            you or Jason Brodeur saying it to you?
    31
    32    JG:
    33
    34    TC:     Okay.
    35
    36    JG:     Brodeur was there, uh, present in the conversation,
    37            just like he'd be sitting around this table. Yeah.
    38            And Ben Paris was there.
    39
    40    TC:     Okay.
    41
    42    JG:     Ben Paris was there very frequently.
    43
    44    SS:
    45
    46    JG:
    47
    48    SS:
    49
    50    JG:

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      1
      2   SS:
      3
      4   JG:
      5
      6   SS:
      7
      8   JG:
      9
     10   SS:
     11
     12   JG:
     13
     14   SS:
     15
     16   JG:     The people -- people present at the table, Jason and
     17           -- and Foglesong and Paris.
     18
     19   SS:     Thank you.
     20
     21   TC:     And were there any other discussions for any other
     22           races about running third-party candidates?
     23
     24   JG:     Mine.
     25
     26   TC:     And what -- what did that discussion entail? Now --
     27           and would it be during the same time that this "we"
     28           comment, that, "We have it handled," or is this --
     29
     30   JG:     I was -- was -- I was -- I'd planned to do the same
     31           thing. I did eventually have a third-party
     32           candidate get in. It was a -- a female. Their
     33           strategy was -- and this goes back to the
     34           conversation in 2000 -- late 2019 at the Reagan Day
     35           dinner where it was myself, Bob Cortez, um -- what
     36           was her name? The lady running against Val Demings
     37           last time.
     38
     39   TC:     Was --
     40
     41   JG:     Francois.
     42
     43   TC:     Okay.
     44
     45   JG:     Vennia Francois.
     46
     47
     48
     49
     50

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      4
      5
      6
      7
      8
      9
     10   TC:     All right.          You just mentioned Frank Artiles.
     11
     12   JG:     Yeah.
     13
     14   TC:     Can you expand on that? 'Cause that may be of
     15           interest to other investigators or it could be
     16           connected. We -- we don't know yet.
     17
     18   JG:     My -- okay. My humble opinion, it's absolutely
     19           connected. These guys are, for the most part,
     20           extremely organized with what they do. They're very
     21           intelligent. And they operate as a little -- little
     22           Mafia type. I mean, you know the guys. So, yeah,
     23           it's absolutely connected. But anyway, um, so the
     24           conversation in 2019 with -- in front of Francois
     25           and Bob Cortez focused on -- I don't know if he had
     26           too much to drink, but he's just overly saying what
     27           -- what he was gonna do.
     28
     29           Um, so there's two other people that could
     30           corroborate what I'm saying. And meetings at
     31                      house, we'd be hanging out, just shooting
     32           the shit, having drinks or whatever. I mean, we --
     33           we always were talking political strategies, so it's
     34           hard for me -- had I known, like, I was going to
     35           need to retain all that stuff, I would have taken
     36           notes. But it's -- it was just -- it was something
     37           a lot of times we would just talk about.
     38
     39   TC:     Okay.       So what was --
     40
     41   LM:     The -- the question was about Artiles.
     42
     43   JG:     Oh, Artiles? Again, I mean, they could have been
     44           having the conversation directly in front of me
     45           about what they were going to do and who they were
     46           going to use. And I just had --
     47
     48   LM:     Well, go back to, say, before Artiles was there at
     49                      house.
     50

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                                                                            11
      1   JG:     Yeah, Artiles.             So he was there --
      2
      3   LM:     Answer the question.
      4
      5   JG:     What was specifically the question?
      6
      7   TC:     Okay. So let -- let's start it this way. How often
      8           was Artiles there? A few times? A couple? Or are
      9           we talking, uh, multiple times a month or --
     10
     11   JG:     Over -- over a four-year period, three-year period,
     12           I probably saw Frank up there 20 times.
     13
     14   TC:     Okay.
     15
     16   JG:     And --
     17
     18   TC:     And is he friends with
     19
     20   JG:     Yes. And this was, uh -- was mainly more so after
     21           he left the U.S. Senate. I mean, U.S. -- I'm sorry,
     22           the Florida Senate. He resigned. Yeah. He was up
     23           there more often than that.
     24
     25   TC:     Was he present, um -- again with that, "We got it
     26           taken care of," comment, was he there that night?
     27
     28   JG:     He could -- he could have been. And I think it was
     29           during the day that we had that --
     30
     31   TC:     Okay.
     32
     33   JG:     -- during the -- it was -- it was getting dark. Put
     34           it that way. Um, he could have been. I mean, it
     35           was people coming in and out of his house all the
     36           time.
     37
     38   TC:     Okay. Do you have any firsthand knowledge of Frank
     39           Artiles' involvement in the Miami Senate District
     40           races? Do you remember any discussions that you
     41           were a party to?
     42
     43   JG:     I want to say that I heard them -- I heard       and
     44           Frank. The -- the guys in general, um, talking
     45           about using Frank in some sort of fashion like that.
     46           But specifically, like, I -- I can't --
     47
     48   TC:     Okay. Were you aware if Frank Artiles assisted Eric
     49           Foglesong, Ben Paris or anybody with Senate District
     50           9? Were you party to any --

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      1
      2   JG:     No.
      3
      4   TC:     -- firsthand information?
      5
      6   JG:     No. Um, not that I remember. Again, I -- I
      7           remember names being thrown about. I don't know the
      8           context they were used in. Um, a Grow PAC that's
      9           used. A Grow PAC that's used, I remember hearing
     10           that for something that's used for Wilton Simpson, I
     11           believe. And then also was used in the Iannotti,
     12           who --
     13
     14   TC:     Well, the --
     15
     16   JG:     -- the same name or same PAC?
     17
     18   TC:     So Iannotti was not part of any PACs.
     19
     20   JG:     I thought there was money that came from a PAC that
     21           went --
     22
     23   TC:     Okay. So there was -- are -- are -- well, let me
     24           start it this way. Are you aware of money moving
     25           from PACs to assist these third-party candidates?
     26
     27   JG:     No.
     28
     29   TC:     Okay.
     30
     31   JG:     No.     But I could speculate.
     32
     33   TC:     Right.
     34
     35   JG:
     36
     37
     38
     39
     40   TC:     Okay. So -- so your -- what you're -- the one thing
     41           you are sure with -- with Brodeur is that he had
     42           first-hand knowledge that the plan was to run a
     43           third-party candidate in his race?
     44
     45   JG:     Absolutely.
     46
     47   TC:     Okay. So if he's saying to the media, which again,
     48           is not under oath or anything, that he --
     49
     50   JG:     He -- yeah.

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      1
      2   TC:     -- had no idea and he wasn't a part of it -- and
      3           again, I'm paraphrasing. I'm not quoting directly
      4           from there so I don't want to put words in his
      5           mouth. But if he's saying he was not involved,
      6           you're saying that's not true?
      7
      8   JG:     That is absolutely not true. I mean, he's the type
      9           of person that knows exactly what's going on.
     10           Exactly what's going on. They're not going to leave
     11           it to chance. I mean, they're running a
     12           multi- million dollar operation with his campaign
     13           and raising 10, $15 million.
     14
     15           You don't leave some -- something like that to
     16           chance. And they won by, you know, a very, very
     17           thin margin. And those things just don't happen by
     18           chance.
     19
     20   LM:     Are you aware of any instance where it was actually
     21           discussed that you can remember that he was present
     22           and his involvement in it?
     23
     24   JG:     No. No. He was -- no, not specific like, Hey,
     25           we're going to do this at this day and this person
     26           will be used. It was more put together based upon a
     27           series of -- of meetings and -- and occurrences that
     28           I was present of them discussing strategies. 'Cause
     29           I'd be discussing my own strategy. I would throw in
     30           some of my own ideas.
     31
     32
     33   TC:     Okay. So let me try to narrow down a time frame.
     34           Um, in 2020, qualifying began, I think, around June
     35           -- the week of June 12th through, you know -- June
     36           12th, 14th, in that area of 2020. So let's talk about
     37           prior to mid June.
     38
     39   JG:     Uh-huh.
     40
     41   TC:     Can you approximate or -- how many meetings were at
     42           -- or get-togethers. Let's not call them meetings
     43           necessarily, if you guys were partying or whatever.
     44
     45   JG:     Yeah.
     46
     47   TC:     Just get-togethers in which         , Brodeur, Ben
     48           Paris were there together discussing strategy.
     49
     50   JG:     Um, so Ben Paris would come over and provide a lot

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      1           of the marijuana edibles. He would -- he was always
      2           providing          with the marijuana edibles. I
      3           don't know what kind of arrangement they had going
      4           on. But he seemed to have a heavy stock of them.
      5           Um, so there was some substance involved a lot of
      6           times, and it would be with alcohol or -- or
      7           marijuana.
      8
      9   FS:     Go back to the -- want him to repeat the question?
     10
     11   JG:     Well, sure.           Repeat the question.
     12
     13   TC:     Sure. The -- I'm -- I'm interested in how many
     14           times that         , Jason Brodeur, Ben Paris,
     15           Foglesong, were together with you discussing
     16           strategy, at            or anywhere else.
     17
     18   SS:     Prior to June 2020.
     19
     20   JG:     I was present at? Whether it was me walking in
     21           on -- on them already shooting the shit and -- at
     22           least a dozen times.
     23
     24   TC:     Okay.
     25
     26   JG:     Yeah. Whether it's at -- up at Liam Fitzpatrick's
     27           or at            house. I mean, yeah. It was -- it
     28           was always -- conversation's always politics.
     29
     30   TC:     Okay.
     31
     32   JG:                                                    .
     33
     34   TC:     Before June of 2020?
     35
     36   JG:     Yeah.       Oh, yeah.         Yeah.
     37
     38   TC:     Um, how often?
     39
     40   JG:     At least a dozen times.
     41
     42   TC:
     43                                                ?
     44
     45   JG:
     46
     47   TC:
     48
     49
     50   JG:     (No audible response).

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                                                                                     15
      1
      2   FS:
      3
      4   JG:
      5
      6   TC:     Yes.
      7
      8   FS:     I'm sorry.          Just --
      9
     10   JG:     Direct involvement that I'm aware of.               No, not that
     11           I'm absolutely aware of, no.
     12
     13   TC:
     14
     15
     16
     17   JG:
     18
     19
     20
     21
     22
     23   TC:     Okay. Um, so who -- who would be able to
     24           corroborate these discussions? A list of names who
     25           could corroborate these -- about third-party
     26           candidates. And really for us, specifically Senate
     27           District 9 race. Who are the best people that could
     28           corroborate that these discussions between Brodeur,
     29           Ben Paris, Eric Foglesong took place?
     30
     31   JG:
     32
     33   TC:     Um, any other people who were at these
     34           get-togethers?
     35
     36   JG:                                          .
     37
     38   TC:     Okay.
     39
     40   LM:     Take your time.              Just think about it.
     41
     42   TC:     Were there any other friends or anybody that --
     43
     44   JG:
     45
     46   TC:     I'm sorry.
     47
     48   JG:     -- um, Richard Anderson.
     49
     50   TC:     Okay.

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                                                                             16
      1
      2   SS:     Also known as Chris?
      3
      4   JG:     No.
      5
      6   SS:     No?     So was --
      7
      8   JG:     Just Richard Anderson.
      9
     10   SS:     Was Gacy [phonetic] a relation to Chris Anderson?
     11
     12   JG:     No, no, no.
     13
     14   LM:     Who is he?
     15
     16   JG:     Richard Anderson was, uh -- he worked for the City
     17           of Apopka for a number of years. He was Nicole
     18           Guillet's ex-boyfriend and looks like Colonel
     19           Sanders. He's involved in that -- that DUI a couple
     20           years ago, Richard Anderson. You know who I'm
     21           talking about?
     22
     23   LM:     No.
     24
     25   JG:     Um, goodness.
     26
     27   LM:     Colonel Sanders?              Was it --
     28
     29   JG:     He looks like Colonel Sanders. He was involved in a
     30           bad DUI a couple years ago. He got off. Frank --
     31           Frank -- his lawyer was John Morgan and Frank -- his
     32           names -- I haven't used them in two years. Any --
     33
     34   SS:     Frank --
     35
     36   JG:     Who's the lawyer? He used -- used to be the, um,
     37           OIA. He was one of my lawyers. He was the chairman
     38           of GOAA.
     39
     40   LM:     Chairman of who?
     41
     42   JG:     Kruppenbacher.
     43
     44   TC:     Kruppenbacher.
     45
     46   LM:     Oh, thank you.             Sorry.        I don't want --
     47
     48   JG:     Kruppenbacher was his --
     49
     50   LM:     -- words.          Okay.

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                                                                            17
      1
      2   JG:     -- attorney, yeah. And they got him off with some
      3           legal theory of, you know, he wasn't there
      4           necessarily at the scene of the crash. But Richard
      5           Anderson is -- is -- was -- is -- was involved with
      6           the conversation also. And her -- she -- he was
      7           dating Nicole Guillet at the time. They'd been
      8           dating for --
      9
     10   TC:     I didn't catch that name.
     11
     12   JG:     Nicole Guillet for a number of time -- number of
     13           years. They'd been -- been dating. Nicole was the
     14           manager. His -- his county manager.
     15
     16   FS:     You gotta speak up a little bit.
     17
     18   TC:     Which county?
     19
     20   JG:     Seminole.
     21
     22   TC:     Seminole?          Okay.
     23
     24   JG:     Um, maybe talk to -- yeah. Talk to -- I cannot
     25           believe I can't remember these people's names.
     26           These are people I would talk to on a weekly basis.
     27           Um --
     28
     29   LM:     Take your time.
     30
     31   TC:     Were there any, uh, friends, girlfriends, other
     32           acquaintances?
     33
     34   JG:     Alex Stetzer [phonetic].
     35
     36   TC:     Okay.
     37
     38   JG:     Talk to Alex.
     39
     40   TC:     Stetzer?
     41
     42   FS:     Setzer.
     43
     44   JG:     Stetzer.         Setzer.
     45
     46   TC:     Setzer?
     47
     48   JG:     Yeah.
     49
     50   FS:     S-E-T-Z-E-R.

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                                                                            18
      1
      2   JG:     Yeah. Yeah. These are people who would be also in
      3           and out of his house and involved in the political
      4           scene up there.
      5
      6   TC:     Okay.
      7
      8   JG:     Who I can recall being there at least some of --
      9           would have had some knowledge of what was going on
     10           if you ask them. It may be contextual, sort of what
     11           I'm able to provide, but they can -- they can help
     12           corroborate some of this stuff.
     13
     14   TC:     Okay. Um, Ben Paris. Let's kind of focus on him.
     15           Was he -- and he -- he's friends with
     16           obviously.
     17
     18   JG:     Yeah.
     19
     20   TC:     I -- I would imagine being that he was kind of the
     21           second in charge over at the Seminole Chamber.
     22
     23   JG:     He got that job specifically from Brodeur.
     24
     25   TC:     For -- because they're friends or what?
     26
     27   JG:     Um, maybe.
     28
     29
     30
     31
     32
     33
     34
     35   TC:
     36
     37
     38
     39   JG:
     40
     41
     42   TC:     All right. Would he have been present about the
     43           third-party candidates?
     44
     45   JG:     I don't know.
     46
     47   TC:     Okay. Do you recall specifics of what Ben Paris --
     48           in talking about running third-party candidates, is
     49           there any specifics about him assisting any of this,
     50           uh, you know, to get it accomplished?

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                                                                            19
      1
      2   JG:     Specifics about Ben Paris getting it accomplished?
      3           Not that I can think of.
      4
      5   TC:     Okay.       But he was present with Brodeur?
      6
      7   JG:     Yeah. He was kind of quiet. But, uh, yeah. He was
      8           definitely there. I -- I don't remember them
      9           specifically saying what he was going to do.
     10
     11   TC:     Were you aware of Seminole County candidates that
     12           Eric Foglesong was assisting their campaign? Did --
     13           do you remember any discussions about that?
     14
     15   JG:     In 2020?
     16
     17   TC:     Yes.
     18
     19   JG:     No.
     20
     21   TC:     Okay. Were you -- did you have any knowledge of,
     22           uh, Mr. Foglesong assisting Matt Morgan and Ben
     23           Paris with their campaign?
     24
     25   JG:     I don't recall specifically. I do recall him being
     26           present. I don't recall. Not specifically, no.
     27           But -- no, not --
     28
     29   TC:     Okay.
     30
     31   JG:     -- not specifically, no.
     32
     33   TC:     All right. So let me get closer to the day range of
     34           as qualifying's going on, campaign donations are
     35           coming in. So we're talking specifically mid June
     36           of 2020. Were you ever party to any conversations,
     37           be it talking to the person, digital conversations,
     38           e-mails, text messages, anything, that talked about
     39           securing donations for Jestine Iannotti?
     40
     41   JG:     No, no. I didn't even know her name until Fritz and
     42           I were talking. I think this was -- yeah, this was
     43           before the indictments came. I didn't even know
     44           what her name was. I remember saying to Fritz, I
     45           said, "They probably used a female with a
     46           Spanish-sounding name." That's what -- that's what
     47           their strategy called for. So, no, I didn't -- I
     48           didn't know anything about her. And I didn't hear
     49           any conversations about -- I wasn't involved in the
     50           conversations about, you know, raising any money for

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                                                                             20
      1           her.
      2
      3   TC:     Okay. Um, and maybe afterwards did you ever become
      4           party to information that Ben Paris assisted with a
      5           donation for Jestine Iannotti?
      6
      7   JG:     No. No. I -- I didn't -- I didn't have any
      8           knowledge of who the person was going to be, if they
      9           were going to use her third-party candidate.
     10
     11   TC:     Okay.
     12
     13   JG:     No.
     14
     15   TC:     Did you have any knowledge of Eric Foglesong, um,
     16           securing funds for a donation to Jestine Iannotti
     17           for the campaign contributions?
     18
     19   JG:
     20
     21
     22
     23   TC:     All right.          Stick with that, with the qualifying
     24           fee.
     25
     26   JG:     Yeah.
     27
     28   TC:     'Cause that's the important part of getting somebody
     29           on the ballot is the qualifying fee.
     30
     31   JG:     Yeah.
     32
     33   TC:     Do you recall discussions, be it June, be it prior
     34           to June of 2020, about securing contributions or
     35           money for qualifying fees for third-party
     36           candidates?
     37
     38   JG:     For Senate --
     39
     40   TC:     Senate District 9 or any -- any discussion about
     41           securing qualifying fees, where the money would be
     42           coming from.
     43
     44   JG:     It -- well, yeah. I -- I had assumed -- actually,
     45           no. It was -- it was the county commission race.
     46           No.
     47
     48   FS:     Just tell them about any -- any -- or he's asking
     49           the questions broad. Any --
     50

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                                                                            21
      1   JG:     For -- for Ben Paris and for
      2
      3
      4
      5
      6
      7
      8
      9   TC:
     10
     11   JG:
     12
     13   TC:
     14
     15   JG:
     16
     17   TC:
     18
     19
     20   JG:
     21
     22   TC:
     23
     24   JG:
     25
     26
     27   TC:
     28
     29   JG:
     30
     31   TC:
     32
     33
     34
     35   JG:
     36
     37
     38
     39
     40   TC:
     41
     42   JG:
     43
     44   LM:
     45
     46   JG:
     47
     48
     49
     50   FS:

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                                                                            22
      1
      2   JG:
      3
      4   TC:
      5
      6
      7
      8
      9   JG:
     10
     11   TC:
     12
     13   JG:
     14
     15   TC:     Are you aware of anything similar to what you did
     16           that occurred with Senate District 9 or with Frank
     17           Artiles in South Florida or any other candidates in
     18           the local Central Florida area with this group,
     19           with --
     20
     21   LM:     Any other candidate -- well, let's stick with these.
     22
     23   JG:     I -- I -- no, I didn't have a conversation where
     24           somebody solicited one way to me what they were
     25           going to do. Just what I had done, "Oh, that's
     26           great. You know, I should do something similar."
     27           Yeah. My asking questions about how to justify the
     28           money and that was that. But no, not specifically.
     29
     30   TC:
     31
     32
     33
     34
     35   JG:     In 2020?
     36
     37   TC:     In 2020.
     38
     39   JG:
     40
     41
     42
     43
     44   TC:     Pressured you?
     45
     46   JG:     Yeah.       Yeah.
     47
     48   TC:     Sorry.
     49
     50   JG:

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                                                                            23
      1
      2
      3
      4
      5
      6
      7
      8   SS:     Before we leave the topic, you had made the comment
      9           that with regard to Paris's race and
     10
     11
     12
     13
     14   JG:
     15
     16   SS:
     17
     18   JG:
     19           that. I heard rumors that something similar had
     20           happened with Ben Paris but --
     21
     22   SS:     Well, are -- understanding it's a rumor that you
     23           heard --
     24
     25   JG:     Yeah.
     26
     27   SS:     What did you hear?
     28
     29   JG:     My wife told me that, uh, at SEC, at the Seminole
     30           County Republican Executive Committee meeting, she
     31           was told that Ben Paris got $25,000 cash from
     32                   . Um, to run. So that's --
     33
     34   FS:     Just tell them everything you know.
     35
     36   JG:     That's it.          That's --
     37
     38   FS:     I'm sorry to interrupt.
     39
     40   JG:
     41
     42
     43
     44
     45
     46
     47   SS:
     48
     49
     50

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                                                                            24
      1
      2
      3
      4   JG:     Oh, yeah.
      5
      6   SS:     Talk to me about that.
      7
      8   JG:
      9
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20                                 And the same thing with
     21           Anthony Sabatini. He came in as, um, doing some
     22           legal work for the office.
     23           Dorworth about -- I mean, I -- I specifically hired
     24
     25
     26
     27
     28   TC:
     29
     30
     31   JG:
     32
     33
     34   TC:
     35
     36   JG:
     37
     38   TC:
     39
     40   JG:
     41
     42
     43
     44
     45
     46   TC:     That's the point. What's -- what was the
     47           conversation to get him in the door with him? Or
     48           would anyone else, Hey, bringing you in. This is
     49           the contract. You're not really doing anything.
     50           It's your money. I mean, what -- what was the

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                                                                               25
      1           conversation?
      2
      3   JG:
      4
      5
      6
      7
      8
      9
     10
     11
     12
     13   LM:     Like?
     14
     15   JG:
     16
     17
     18
     19
     20
     21   LM:
     22
     23   JG:
     24
     25   TC:
     26
     27
     28   JG:
     29
     30   TC:
     31    --
     32
     33   JG:
     34
     35   TC:
     36
     37   JG:     Correct. I had even -- I had even -- I was not
     38           terribly thrilled with the job as tax collector. It
     39           was really boring, and as you could tell I got bored
     40           and did some things that normally I wouldn't have
     41           done. But, uh, I wanted to run for county
     42           commission.
     43
     44
     45
     46
     47
     48
     49   LM:     Um, you mentioned Sabatini.                    What was --
     50

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                                                                                  26
      1   JG:     Yeah. Sabatini was a -- a -- a, um, contractor
      2           doing some legal work for the office. We didn't
      3           have him on very long. When I got indicted a lot of
      4           those -- most of those contracts were all cut so he
      5           -- he, um --
      6
      7
      8
      9                   So had I not been indicted who knows what
     10           would have happened when there were people that
     11           would have gone forward through the election process
     12           and maybe won. But --
     13
     14   LM:     Is that a conversation again you had with
     15           Sabatini --
     16
     17   JG:     Yes.      --
     18
     19   LM:     -- for taking employment?                      How'd that go?
     20
     21   JG:     I don't remember the specifics. Um, a lot of these
     22           conversations would happen up at Liam's, you know,
     23           drinking beer and stuff. But it was the
     24           understanding that if somebody was coming on to do
     25           work, they were going to be overpaid, and if
     26           anything was needed, they would -- they would
     27           remember that they're being paid too much to do a
     28           job that they could be paid a lot less. But I don't
     29           remember the exact words.
     30
     31   FS:
     32
     33   JG:
     34
     35
     36
     37   TC:
     38
     39   JG:
     40
     41   TC:
     42
     43   JG:
     44
     45
     46
     47
     48
     49
     50

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                                                                             27
      1
      2
      3   TC:     Sure.
      4
      5   JG:
      6
      7
      8   FS:     Just tell them everything. Just tell them
      9           everything. If -- they'll cut you off if it's --
     10
     11   JG:     Yeah.       Um, but -- so the election time -- let's see
     12           here.
     13
     14
     15
     16
     17
     18   TC:     Were those vocal discussions, or did any of this
     19           actually happen on -- through a group text or
     20           electronically, that there's a -- there's a record
     21           of it somewhere?
     22
     23   JG:     No.
     24
     25   TC:     Okay. 'Cause my understanding -- and talking to
     26           other people, other investigators and other things,
     27                    deals in cash.
     28
     29   JG:     Yeah.
     30
     31   TC:     And cash and only cash.
     32
     33   JG:     Yeah. Yeah. And he needs cash that he's short of,
     34           so here's -- he used to would go -- he didn't have a
     35           lot at his house. Jim Stelling kept a lot of cash
     36           on hand, and he would go to Jim Stelling and ask Jim
     37           for the cash, take that cash, use it for whatever
     38           purpose he needed, whether it's females, drugs, fill
     39           in the blank. Jim --
     40
     41   LM:     Who's Jim --
     42
     43   JG:     -- Stelling was, um -- he -- well, Republican
     44           bigwig. Used to be the -- the chairman of the
     45           Republican party in Seminole County. Well beyond
     46           his back nine, but, um, yeah,       would get cash
     47           from -- from Jim. This is the way he would also
     48           hide from his wife but then he paid Jim back later.
     49           Jim always kept about 20,000 in cash on him. So --
     50

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                                                                            28
      1   SS:     Let's revisit for a moment the people that you had
      2           on contract as employees on a vendor contract basis
      3           for Tax Collector's Office that were postured to be
      4           given money, as you've said, to do work, to be
      5           overpaid with the understanding that there would be
      6           money paid to them that they would then put into
      7           their own, um, campaigns moving forward.
      8
      9   JG:     Yeah.
     10
     11   SS:
     12
     13
     14   JG:     Yeah.
     15
     16   SS:     Do you recall -- and I'm asking you questions I
     17           already know the answer to, but I want to know if
     18           you have a recollection of it.
     19
     20
     21
     22   JG:
     23
     24   SS:
     25
     26   JG:
     27
     28   SS:
     29
     30   JG:
     31
     32   SS:
     33
     34
     35
     36
     37   JG:
     38
     39
     40
     41   SS:
     42
     43
     44   JG:
     45
     46   SS:
     47
     48
     49
     50   JG:

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                                                                            29
      1
      2
      3
      4
      5
      6
      7
      8   SS
      9
     10
     11   JG
     12
     13   SS:     Okay.
     14
     15   JG:
     16
     17   SS:     And he lost to whom?
     18
     19   JG:
     20
     21   SS:     Okay.
     22
     23   JG:     Which was sort of a surprise, but, um, I wasn't
     24           involved with his campaign. Probably would have won
     25           if I was. But -- and then Ben Paris ran
     26           simultaneously against Lee Constantine.
     27
     28   SS:     And Ben Paris --
     29
     30   JG:
     31
     32
     33   SS:     And Ben Paris was not an employee of the Tax
     34           Collector's Office, but rather was an employee of
     35           the Seminole County Chamber of Commerce?
     36
     37   JG:     Correct.
     38
     39   SS:     And was that position that Paris had with the
     40           Seminole County Chamber of Commerce facilitated by
     41           Dorworth, do you know?
     42
     43   JG:     And -- and Brodeur, yes.
     44
     45   SS:     Understanding that Brodeur is the president of that
     46           organization?
     47
     48   JG:     Yeah.
     49
     50   SS:

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                                                                                  30
      1
      2
      3   JG:     Yes. Because they had asked me to bring on Ben
      4           Paris in some sort of fashion and I didn't really
      5           know Ben.
      6
      7   FS:     You're talking -- slow down a little bit.              You're
      8           talking (unintelligible).
      9
     10   JG:     They had -- they had approached me about hiring Ben
     11           in some sort of fashion. Even possibly having been
     12           -- take over as tax collector if I didn't want to
     13           run. And I didn't know Ben, and I -- I didn't -- I
     14           couldn't find a spot for him. And then it was
     15           immediately after I turned him down they announced
     16           that they had a spot for him at the -- the, uh,
     17           Seminole County Chamber of Commerce. There was a
     18           press release that went out immediately after.
     19
     20   SS:     And Ben Paris was also put up, as you've said, to
     21           run for Seminole County Commission?
     22
     23   JG:     Correct.
     24
     25   SS:
     26                  and Ben Paris -- was that -- was that race in
     27           2020, as well?
     28
     29   JG:     Yes.
     30
     31   SS:     So all these conversations that are taking place at
     32                      house about installing third-party
     33           candidates, engaging in these various practices with
     34           the election cycle, that's all at the same time that
     35                    running for office and Paris is running for
     36           office with a potential direct benefit to         ;
     37           is that correct?
     38
     39   JG:     Absolutely.
     40
     41   SS:     Why would Jim Stelling give                    cash?
     42
     43   JG:     Jim Stelling and                have a relationship
     44           that's akin to like a father and son.
     45
     46   SS:     Who else at the Tax Collector's Office -- you talked
     47           a little bit about Sabatini, understanding who he is
     48           in Florida politics. What benefit would
     49           receive from Sabatini getting employment by way of
     50           vendor contract for you? Can you explain that for

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                                                                                  31
      1           us?
      2
      3   JG:     Sure. So Sabatini and other -- other, um, state
      4           legislatures [sic] were given a lot of campaign
      5           donations from
      6
      7
      8
      9
     10
     11
     12
     13                      There may be an electronic record of that
     14           somewhere, but putting Jason --
     15
     16   SS:     Brodeur.
     17
     18   JG:     -- not Brodeur.
     19
     20   TC:     Pizzarola [phonetic]?
     21
     22   JG:     Pirozzolo, yes.
     23
     24   TC:     Pirozzolo, I'm sorry.                  However you say that.
     25
     26   SS:     Dr. -- Dr. Pirozzolo --
     27
     28   JG:     Yes, Dr. Pirozzolo.
     29
     30   SS:     -- you said?
     31
     32   JG:     And Randall Hunt on that board. Um, specifically to
     33           steer the contract for the -- from the Attorney's
     34           Office over to Tara.
     35
     36   FS:     Tara.
     37
     38   SS:     Tedrow.
     39
     40   JG:     Tedrow, yeah, who he was having an affair with.                Um,
     41           and a number of other things.
     42                                                                           t
     43
     44
     45           Board with essentially having Jerry Demings and
     46           Buddy Dyer on there as requirements was -- was, you
     47           know, astronomical, the amount of money that went
     48           through the GOAA. But something blew up there.
     49           They just -- they didn't end up getting it. But
     50           that's an example of how they use their

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                                                                            32
      1           relationships -- you know all this stuff.       I don't
      2           need to tell you -- to --
      3
      4   FS:     Well, just tell them.
      5
      6   JG:
      7
      8
      9
     10
     11
     12   SS:     Preserve?
     13
     14   JG:     Yeah. Something like that, but I -- when you sit in
     15           a cell for 23 hours a day your mind kind of goes to
     16           mush. But whatever that is that prohibits
     17
     18
     19
     20
     21
     22
     23
     24           And he knows the -- the game with Brodeur
     25           and all that, how the laws are just completely
     26           shaped to benefit themselves. So that's where
     27           Sabatini came in. I don't know what, but I'm sure
     28           if you look you'll see a direct line of, you know,
     29           contributions to Sabatini's House races and some of
     30           the legislation that he may have passed or helped
     31           sponsor, fill in the blank.
     32
     33   SS:     All right. Two more series of questions, then I'll
     34           turn it back over. My apologies. Anybody else on
     35           staff, on contract, receiving any type of financial
     36           benefit as an employee or contractor with the Tax
     37           Collector's Office, other than
     38           Sabatini, that -- that had this kind of arrangement
     39           set up where they were getting padded and inflated
     40           contract employment knowing that it was for this
     41           greater good?
     42
     43   JG:
     44
     45   SS:     Okay.
     46
     47   JG:
     48
     49   SS:     Okay.
     50

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                                                                                    33
      1   JG:     So if 2020 -- yeah, it was in '18 elections, yeah.
      2
      3   SS:
      4
      5
      6   JG:
      7
      8   SS:     Or just in general.                 So let me ask specifically.
      9
     10
     11
     12   JG:     I don't know.
     13
     14   SS:
     15
     16
     17
     18   JG:
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28
     29
     30
     31
     32
     33
     34
     35   LM:
     36
     37
     38
     39   JG:
     40
     41   LM:
     42
     43   JG:
     44
     45
     46   SS:
     47
     48
     49   JG:
     50

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                                                                            34
      1   SS:     Okay.       Um --
      2
      3   JG:     And I -- there -- there's gotta be a --
      4
      5   FS:     Do you mind asking that questions again if it's just
      6           towards Dorworth or in general? Because --
      7
      8   SS:     In general.
      9
     10   FS:     In general.
     11
     12   SS:
     13
     14
     15
     16
     17   JG:
     18
     19   SS:
     20
     21   JG:
     22
     23   SS:
     24
     25   JG:
     26
     27
     28
     29
     30
     31
     32
     33
     34   SS:     For Ben Paris?
     35
     36   JG:     For Ben Paris and                              , yeah.
     37
     38   SS:     Yeah.
     39
     40   JG:
     41
     42
     43
     44
     45
     46
     47   SS:     Scott Sturgill is currently running for Congress?
     48
     49   JG:     Yes.
     50

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                                                                                   35
      1   SS:     Tell me about him.
      2
      3   JG:     I -- I -- I don't -- I don't really have too much on
      4           Scott. I know Scott. I like Scott.
      5
      6   SS:     Is Scott involved in any of this?
      7
      8   JG:     Not that I know of, no. Scott didn't really
      9           associate with this group of people.
     10
     11   SS:     So the last category, as I said -- I said there were
     12           two. This is the second of the two.
     13
     14   LM:     Uh-huh.
     15
     16   SS:     You mentioned GOAA, the Greater Orlando Aviation
     17           Authority.
     18
     19   JG:     Uh-huh.
     20
     21   SS:
     22
     23
     24   JG:     No.
     25
     26   SS:     Do you know that currently Eric Foglesong is in a
     27           lobbyist position as it relates to vendors in GOAA?
     28
     29   JG:     No, I didn't know that.                   Doesn't surprise me.
     30
     31   SS:     Okay.
     32
     33   JG:     That's somebody they would use.
     34
     35
     36
     37   SS:
     38
     39
     40   JG:
     41
     42   SS:     That's all right.
     43
     44   JG:
     45
     46
     47
     48
     49
     50

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                                                                                 36
      1                                                          .
      2
      3   SS:     Okay. Understanding that we're going to get into a
      4           little bit more of the trail here, do you have any
      5           information about how it was that Foglesong became
      6           associated with the Greater Orlando Aviation
      7           Authority recently? Do you know anything about
      8           that?
      9
     10   JG:     How recent?
     11
     12   SS:     He -- it's been within the last six months or so.
     13
     14   JG:     First of all, I was shocked that they would, you
     15           know, associate with him. Second of all,
     16
     17
     18
     19
     20
     21
     22
     23   SS:
     24
     25   JG:
     26
     27
     28
     29
     30
     31
     32
     33
     34
     35
     36   SS:     Thank you.
     37
     38   FS:     Um, just -- just for the record, he's been in
     39           custody since last year so he hasn't been out in the
     40           last six months.
     41
     42   SS:     I understand.
     43
     44   FS:     Okay.
     45
     46   SS:     Yes.
     47
     48   FS:     Just wanted to put that --
     49
     50   SS:     But you also have access to the news.              So that's why

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                                                                                         37
      1           I was asking questions.
      2
      3   JG:     A little bit, yeah.
      4
      5   SS:     That's all right.               I will turn it back over.
      6
      7   TC:     Um, the one thing I wanted to hit so I don't forget,
      8           'cause it was stated and then I just wanna dig deep
      9           into it. Um, what -- what is your wife's name?
     10
     11   JG:     Abby.
     12
     13   TC:     Abby.
     14
     15   JG:     Ex-wife, sorry.
     16
     17   FS:     Ex-wife.
     18
     19   TC:     Sorry.        Sorry.       I know how that goes.       Yeah.
     20
     21   FS:     Well, I was -- that's recent.                   It's within the last
     22           year.
     23
     24   TC:     Sorry.        I apologize for that.
     25
     26   FS:     (Unintelligible).
     27
     28   TC:     Your ex-wife's name is Abby.                   At the time in 2020 it
     29           was Abby Greenberg?
     30
     31   JG:     Yes.
     32
     33   TC:     Okay. Um, did -- is it your understanding that she
     34           witnessed the $25,000 in cash go to Paris?
     35
     36   JG:     No.
     37
     38   TC:     Okay.       How did she come to know about it?
     39
     40   JG:
     41
     42
     43
     44
     45
     46
     47
     48   TC:     Okay.
     49
     50   FS:

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                                                                            38
      1
      2
      3   JG:
      4
      5
      6   TC:     Would she have any knowledge about the third-party
      7           candidate schemes and stuff that we've discussed
      8           previously?
      9
     10   JG:     Abby?
     11
     12   TC:     Yes.
     13
     14   JG:     I don't know.
     15
     16   TC:     Um --
     17
     18   JG:     Above and beyond what she would have learned from
     19           being in -- in my presence with these people, I
     20           don't know. I doubt it but I don't know.
     21
     22   TC:     Okay. So she -- so no direct -- she -- it was
     23           something that she heard after a Seminole County
     24           Republican Committee meeting?
     25
     26   JG:     Some sort of Seminole County --
     27
     28   TC:     Or get-together?
     29
     30   JG:     -- yeah.         Yeah.       Something like that.
     31
     32   SS:     You said it was an executive meeting.
     33
     34   TC:     The executive committee is what you had said
     35           initially.
     36
     37   SS:     Right.
     38
     39   JG:     Yeah.       Yeah, yeah, yeah.
     40
     41   TC:     Okay.
     42
     43   JG:     I think it was an SEC REC meeting, yeah.
     44
     45   TC:     Would this be prior to June of 2020?
     46
     47   JG:     Oh, no.        This was, uh -- this was like six months
     48           ago.
     49
     50   TC:     Six months ago?

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                                                                            39
      1
      2   JG:     Yeah.       She told me on the phone.
      3
      4   TC:     Okay.       Do you guys still speak?
      5
      6   JG:     Yeah.
      7
      8   TC:     Was she at all upset about kind of this crumbling in
      9           on you guys, and other people are out there that are
     10           not --
     11
     12   JG:     Yeah.
     13
     14   TC:     -- getting in trouble?
     15
     16   JG:     Yeah.
     17
     18   TC:     So would she be friendly if there was something --
     19           would she be friendly to talk to us?
     20
     21   JG:     Yeah.
     22
     23   SS:     Cooperative?
     24
     25   JG:     Yeah.
     26
     27   TC:     Okay.
     28
     29   JG:     Yeah, absolutely.               She came in on --
     30
     31   TC:     I didn't want to assume.
     32
     33   JG:
     34
     35
     36   TC:     Okay. Did -- did she have any interactions with Ben
     37           Paris or Eric Foglesong?
     38
     39   JG:     I don't know.
     40
     41   TC:
     42
     43
     44
     45   JG:     She was.
     46
     47   TC:     Was?
     48
     49   JG:     Yeah.
     50

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                                                                                     40
      1   TC:     Okay. Um, all right.                   We'll just leave that for
      2           there.
      3
      4   JG:     She has -- there's no love lost.
      5
      6   FS:     There's no -- there's no allegiance.
      7
      8   JG:     There's no allegiance anymore. She -- she doesn't
      9           want anything to do with these people, anybody we've
     10           discussed.
     11
     12   TC:     Okay.
     13
     14   JG:     And yeah. It's -- she's furious that I'm the one
     15           that's taken the fall for a lot of this stuff.
     16
     17   FS:     She's very -- informed me that she'd be very
     18           receptive to any needs.
     19
     20   TC:     Okay.
     21
     22   SS:     Is she represented by counsel?
     23
     24   FS:     We would call Clayton Simmons.
     25
     26   SS:     I know.
     27
     28   FS:     Yeah.
     29
     30   SS:     Former Judge Simmons.
     31
     32   FS:     Yeah.       So, uh --
     33
     34   SS:     Although my understanding is that he was recently
     35           retired.
     36
     37   JG:     Retired.
     38
     39   SS:     Which is why the divorce was fast-tracked.
     40
     41   FS:     Yeah. So -- right. So I will call -- I will find
     42           out today if she has current counsel.
     43
     44   SS:     If you're able to, and then just communicate that
     45           with Inspector Cope.
     46
     47   FS:     I expect I will -- I -- I guess.
     48
     49   SS:     Okay.
     50

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                                                                     41
      1   FS:     And Inspector Cope and I have a nice relationship so
      2           I will let him know right away.
      3
      4   SS:     Very good.
      5
      6   TC:     Absolutely.           Thank you very much.
      7
      8   SS:     I would ask that you not discuss the particulars
      9           with regard to the topics that we've talked to you
     10           about with Abby Greenberg, because I don't want to
     11           taint any future interview --
     12
     13   JG:     Got it.
     14
     15   SS:     -- that we potentially could have with her.              So I'm
     16           instructing you not to talk to her --
     17
     18   JG:     Yeah.
     19
     20   SS:     About these topics.                 Do you understand?
     21
     22   TC:     Or that we spoke at all, please.
     23
     24   JG:     Okay.       Got it.
     25
     26   SS:     Okay.
     27
     28   TC:     And that goes for anybody. It -- 'cause it just
     29           benefits that we can quietly --
     30
     31   JG:     I don't talk to anybody.
     32
     33   TC:     Where I -- okay.
     34
     35   JG:     Only person I talk to, my mom, my dad and then Abby
     36           occasionally but --
     37
     38   TC:     Okay. So you guys have a friendly relationship
     39           though you're divorced and --
     40
     41   JG:     Yeah.       Yeah.
     42
     43   TC:     -- and said -- okay.
     44
     45   JG:     Yeah.
     46
     47   TC:     Got it.        Got it.
     48
     49   FS:     And could I just, um -- when -- when you -- so I --
     50           I -- I -- I mean, I apologize. This is my fault.

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      1
      2
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      7
      8   SS
      9
     10   FS
     11
     12
     13
     14
     15   TC
     16
     17   FS
     18
     19
     20   TC
     21
     22   SS
     23
     24   TC:     So, uh, I just want to dive -- try to get a little
     25           more specific. I don't want to put -- I just want
     26           to throw things out to see if there's anything that
     27           jogs your memory or that we can flush out. 'Cause
     28           I've got -- we -- we've got Ben Paris's -- his phone
     29           tolls and phone tolls, if -- if you know this, I
     30           apologize. But just for the record, it's basically
     31           communications captured by the phone company, be it
     32           SMS text messages or phone calls back and forth
     33           between parties that the telephone company captures
     34           and stuff. It has no content. I have no context to
     35           it, just dates and times. On Ben Paris's phone
     36           tolls, I got it from May -- May 1st, 2020, forward
     37           into like September of 2021. What was interesting
     38           to me is that first -- do you remember what your
     39           mobile phone number was that you used?
     40
     41   JG:     Yes.
     42
     43   TC:     Can you give that to me?
     44
     45   JG:     407-907-5669.
     46
     47   TC:     Okay. And I just want to represent, um, these are
     48           phone tolls that I've segregated out of Ben Paris's,
     49           and these are communications that reflect, uh, phone
     50           -- phone communications between 407-907-5669 and Ben

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                                                                       43
      1           Paris's phone number which is 321-239-3361. So this
      2           -- the time Eastern, 'cause I had to convert it, is
      3           here. And I'm making a mark in blue with this arrow
      4           that these are the actual times that it occurred.
      5           But these are text messages to Ben Paris around May
      6           28th of 2020. Does anything about these
      7           communications -- 'cause there's not many, and I
      8           know you were acquaintances and stuff. Does
      9           anything with this May 28th around May 29th jog your
     10           memory about any discussions related to campaigns at
     11           that time?
     12
     13   JG:     No.
     14
     15   TC:     Okay. So -- and then I'm going to feed a little
     16           more information just to see if it jogs your memory.
     17
     18   JG:     It would -- it would have been only about campaigns
     19           so --
     20
     21   TC:     Okay.
     22
     23   JG:     -- I don't --
     24
     25   SS:     Before we leave it, would you -- could you please
     26           mark that as -- identify --
     27
     28   TC:     Yes.      Item 1 --
     29
     30   SS:     -- Item number (unintelligible).
     31
     32   JG:     'Cause Ben and I -- Ben and I didn't associate as --
     33           as friends. We -- we -- I mean, if we were
     34           discussing something, it was political. I don't
     35           remember what, though.
     36
     37   LM:     Where is this phone?                 Do you know, does the FBI have
     38           it?
     39
     40   JG:     (No audible response).
     41
     42   SS:     Your cell phone.
     43
     44   JG:     Yeah.       I think they do.
     45
     46   FS:     Yes.      The FBI does.
     47
     48   LM:     Did you ever delete the messages or would they still
     49           be there?
     50

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                                                                                 44
      1   JG:     I have no idea.              I don't believe I deleted them.
      2
      3   FS:     If I -- they're doing a whole forensic, like, copy.
      4           So, um, there's a whole forensic copy of the phone.
      5
      6   TC:     Also here, um, I'm just going to draw just kind of a
      7           line over here in this box. This is Item 1, again,
      8           and you'll see that it goes to June 18th. There's
      9           several conversations, and then it goes -- the next
     10           ones were in August of 2020. And this was before
     11           you were in -- indicted and arrested. Does the June
     12           18th jog your memory of any specifics about talking
     13           to Mr. Paris about the campaign?
     14
     15   SS:     And for the record, is that also the -- those are
     16           text communications between Mr. Greenberg's cell
     17           phone and Mr. Paris's cell phone, correct?
     18
     19   TC:     Correct.
     20
     21   SS:     Got it.        On or about June 18th.
     22
     23   TC:     That's a copy of it.
     24
     25   SS:     Got it.
     26
     27   TC:     Yes.
     28
     29   SS:     Okay.
     30
     31   JG:     So the -- the two that you've --
     32
     33   TC:     So these -- this is the range. The -- this appears
     34           to be text communications on June 18th between these
     35           lines there.
     36
     37   JG:     Uh-huh.
     38
     39   TC:     And you don't have any idea what the context was?
     40
     41   JG:     I -- I do and if -- if --
     42
     43   SS:     We have a suspicion.
     44
     45   TC:     We have a suspicion and --
     46
     47   SS:     We're not going to tell you.
     48
     49   JG:     I -- I thought -- I thought it was --
     50

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                                                                             45
      1   TC:     -- I will see --
      2
      3   JG:     -- I'm like they obviously know what it was.        I --
      4
      5   TC:     I have never seen the actual text messages. I'm
      6           going based off the evidence we have gathered
      7           without context, and I can -- I can posture what
      8           they could be, but I'm not going to do that until
      9           we've let you look at it to see if it jogs anything
     10           in your memory.
     11
     12   JG:
     13
     14
     15   TC:     Third-party candidates?
     16
     17   JG:     -- third-party candidates. It had -- well, that
     18           would -- that would include -- be included in the
     19           race.
     20
     21   TC:     Okay. When you're talking about race, you're
     22           encompassing everything?
     23
     24   JG:     Yeah.       Everybody.          The opponents.
     25
     26   TC:     Okay. I -- and again, our case is, again, a
     27           campaign finance case about the Senate District 9
     28           for the third-party candidate.
     29
     30   JG:     Yeah. It -- it wouldn't be, Hi, how's your wife
     31           doing, or none of that.
     32
     33   TC:     Okay. Um, and then one more. I'm going to label
     34           this Item 2. These were my own personal notes when
     35           I was viewing a spreadsheet of Eric Foglesong's
     36           phone records and yours with the same phone number.
     37           It appeared on June 4th, 2020. There was a
     38           six-minute phone call. Again, June 4th of 2020, does
     39           that jog your memory about any specifics? 'Cause
     40           that was really the only pertinent communication
     41           between you and Foglesong that was captured by the
     42           phone company. Granted, if that was on Signal or
     43           any other thing, these things aren't going to be
     44           captured. But does this date -- 'cause this is
     45           by -- close to qualifying. This -- these are
     46           important dates that we're looking at.
     47
     48   JG:     Yeah. There was -- there was -- there's -- he
     49           called me about, um, there was some scheme that he
     50           wanted to do. And I was kind of -- oh, my God.

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                                                                                       46
      1           What was it?
      2
      3   LM:     Take your time.
      4
      5   TC:     Yeah.
      6
      7   JG:     Fuck. I do remember that. 'Cause I remember I just
      8           kind of paid him lip service. I was doing something
      9           else and I rolled my eyes. It was -- it was some
     10           scheme he wanted to do that would involve sucking
     11           money away from the office and going to him somehow.
     12           I don't remember what it was, though.
     13
     14   TC:     Was it related to elections?
     15
     16   JG:     Absolutely. Yeah. The -- that's -- there's no
     17           reason that he would have called me in June 2020
     18           unless it had something to do with elections. It
     19           was some scheme. I don't remember what the scheme
     20           was. But I remember he called me. And I don't talk
     21           on the phone that long.
     22
     23   TC:     Right.        Six minutes is --
     24
     25   JG:     Is a long conversation for me in my opinion.
     26
     27   TC:     For me, too.
     28
     29   JG:     Yeah. And, uh, so, yeah, he was talking and that
     30           was --
     31
     32   TC:     Okay.
     33
     34   JG:     -- it was some scheme.                   Some scheme that he -- he
     35           come up with.
     36
     37   TC:     I got it. All right. But nothing -- nothing
     38           specific. Is there anything you want to go down
     39           that line before I kind of reveal more information
     40           and --
     41
     42   SS:     No.
     43
     44   TC:     -- and put it through -- okay.
     45
     46   SS:     We've established that you -- none of this jogs your
     47           memory so with that --
     48
     49   TC:     So -- so let me just -- and then so let me give you
     50           more information. Let's see if it jogs anything

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                                                                            47
      1           further or gives us another -- something to follow
      2           up on. The reason these dates are important,
      3           because we know now that it jogs my memory, too, you
      4           know, June 4th through, like, the 12th and that, um,
      5           people are -- are getting into the Department of
      6           State their qualifying checks, all of their
      7           candidate O forms and everything like that, also to
      8           the Seminole County Supervisor of Elections.
      9
     10           I know that Foglesong is communicating with Jestine
     11           and getting her all squared away, trying to get her
     12           campaign account going on. The key about May 28th
     13           and May 29th is with all phone toll records with the
     14           suspects, their first contact that's captured on
     15           phone is May 29th, and it's the first introduction.
     16           You know, Paris speaks to Iannotti; don't know the
     17           context. But then Foglesong -- and we have -- we
     18           have Foglesong's text messages with Jestine Iannotti
     19           that says, "Nice to meet you," and this is on the
     20           evening of the 29th.
     21
     22           So do you recall any discussions, communications
     23           with anybody talking about, Hey, we -- we've got our
     24           third-party candidate for Brodeur. It's on. We're
     25           rocking and rolling. We're ready to go. Does
     26           any -- and -- and this is, again, May of 20 -- late
     27           May of 2020. Does anything jog your memory of any
     28           discussions at that time?
     29
     30   JG:     No.
     31
     32   TC:     Okay. The June 18th is interesting in the fact that
     33           we know, um, Foglesong's scrambling for names to put
     34           on the elections reports that are due June 19th. So
     35           I bring up the 18th as it's interesting is you have
     36           texts going between you and Paris who ultimately
     37           does help with that. Does that jog your memory
     38           about any discussion of helping to secure a name?
     39
     40   JG:     Yeah.       I think he wanted to use Abby.     Yeah.
     41
     42   TC:     He wanted to use Abby?
     43
     44   JG:     I think he asked if he could use Abby as a name.
     45
     46   SS:     Who's "he" asked?
     47
     48   JG:     Foglesong.
     49
     50   SS:     Okay.

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                                                                                   48
      1
      2   JG:
      3
      4
      5
      6
      7
      8
      9
     10
     11
     12
     13   TC:     So let me just hold up real quick.             So I showed you
     14           Ben Paris's phone tolls.
     15
     16   JG:     Yeah.
     17
     18   TC:     But you recall Foglesong asking to use Abby's name.
     19
     20   JG:     It came up at some point.
     21
     22   TC:     Okay.
     23
     24   JG:     Yeah.
     25
     26   TC:     You don't know the exact time period?
     27
     28   JG:     It -- no. It might have been on the call that he --
     29           when he called me in -- in June.
     30
     31   TC:     Okay.
     32
     33   JG:     He wanted to use Abby for something. And I just --
     34           I wasn't paying attention to him. It was -- he was
     35           throwing a lot at me and it was some sort of scheme.
     36           And I remember I was at my office and I was working
     37           on something.
     38
     39   TC:     Did -- did you discuss with Abby that he wanted to
     40           use your name?
     41
     42   JG:     No.     I -- I wouldn't have even discussed it.
     43
     44   TC:     Would Ben Paris or Eric Foglesong been able to
     45           contact Abby directly?
     46
     47   JG:     I guess, yeah, if they wanted to.
     48
     49   TC:     Okay.
     50

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                                                                     49
      1   SS:     Did your former wife Abby Greenberg have any type of
      2           relationship, though, with Mr. Foglesong or Mr.
      3           Paris?
      4
      5   JG:     No.     No.      No.     None.
      6
      7   SS:     So given the nature of the relationship you had with
      8           those individuals, would it have been appropriate
      9           for them to go through you for a request versus
     10           going straight to her?
     11
     12   JG:     Yes.
     13
     14   SS:     And I'm going to ask the question directly because
     15           how you've kind of couched it is confusing to me.
     16           Do you have an independent recollection of Eric
     17           Foglesong asking you if he or anyone associated with
     18           Brodeur's campaign could use Abby Greenberg's name
     19           as a campaign contributor to the third-party
     20           candidate Jestine Iannotti in the Senate 9 race?
     21
     22   JG:     Not as specific as you put it, no.
     23
     24   SS:     Okay.
     25
     26   JG:     But he mentioned her -- he mentioned Abby about
     27           something.
     28
     29   SS:     And wanting to use her name in some context?
     30
     31   JG:     For something, yeah.
     32
     33   SS:     But when we drill all the way down --
     34
     35   JG:     I mean, no, I -- I couldn't --
     36
     37   SS:     -- we can't connect those dots?
     38
     39   JG:     -- a hundred percent, no.
     40
     41   SS:     Understood.            Thank you.
     42
     43   LM:     Was it for a campaign donation?
     44
     45   JG:     I don't remember.
     46
     47   LM:     Okay.
     48
     49   TC:     Um, and we'll circle back to the discussions that
     50           you may have had in the presence or people discussed

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      1           in front of you, because third-party candidates --
      2           and I'm going to use the slang term ghost candidates
      3           -- and maybe that helps you jog your memory, too, so
      4           if I start using the word ghost candidate --
      5
      6   JG:     Yeah.
      7
      8   TC:     -- they're not necessarily illegal. It's the
      9           campaign financing that is the illegal part in all
     10           of this. So I just kind of want to get your mind
     11           focused on campaign --
     12
     13   JG:     Yeah.
     14
     15   TC:     -- financing. Especially around 2020 and
     16           discussions with         , Brodeur or whoever. It
     17           didn't have to be Brodeur. I know we're painting
     18           those things, but again, for -- for -- for Brodeur
     19           to really be involved and -- and subject to -- to
     20           anything -- or were you aware of Brodeur being
     21           involved in any of this campaign financing for
     22           third-parties? 'Cause you talked about Frank
     23           Artiles. You talked about Dorworth sending cash and
     24           this and that. And I don't know what Brodeur's, um,
     25           financial state is. But are you -- do you have any
     26           knowledge of Brodeur personally being involved in
     27           these campaign financing schemes for these ghost
     28           candidates?
     29
     30   JG:     No.
     31
     32   TC:     Just that he was aware that it was going on in his
     33           campaign and knew who was doing it.
     34
     35   JG:     He was -- yeah.
     36
     37   TC:     And what --
     38
     39   JG:     It's inconceivable that he would not be aware.
     40
     41   FS:     No.     But --
     42
     43   TC:     But did you -- did you hear him? Were you in the
     44           presence when he heard that? I understand the -- I
     45           agree with you.
     46
     47   JG:     Yeah.
     48
     49   TC:     I mean, we can all sit here and agree and postulate
     50           about that. And -- and if you're at the meeting --

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                                                                                     51
      1           and that's one thing, and -- and -- and it is what
      2           it is. It's just a lie to the media if that's the
      3           case. I'm talking about stuff firsthand you know
      4           that he directly was passed that information.
      5
      6   FS:     He was --
      7
      8   TC:     We've got a third-party candidate.               We got it taken
      9           care of, as you've framed it.
     10
     11   FS:     Um, can -- can I ask the -- are you asking him if
     12           Brodeur was present when these conversations were
     13           occurring?
     14
     15   TC:     I -- I'm asking --
     16
     17   FS:                             -- sorry.
     18
     19   TC:     -- if he was present and can confirm that the
     20           information was conveyed to Brodeur. It's -- it's
     21           easy to be vague in these circles.
     22
     23   FS:     Uh-huh.
     24
     25   TC:     But I'm curious if Brodeur knew about the financial
     26           scheme of, Hey, I'm going to pay cash, but we're
     27           going to make it look like legit donations and
     28           things like that.
     29
     30   JG:     No.     If you put it like that, no.
     31
     32   TC:     Okay.       And then I --
     33
     34   JG:     Nobody -- nobody talks like that.
     35
     36   TC:     I agree but at -- you know, at some point if
     37           somebody's worried about a campaign that's going to
     38           be razor thin, somebody may slip up and actually
     39           discuss, Hey, I've got this -- this, uh -- this
     40           girl. She's agreed to run this as an experience to
     41           see what campaigning is like. So we've got
     42           somebody. We just need to get the qualifying fee.
     43           Um, and also to get names to -- to make it look more
     44           legit. You know, what -- what we have is people
     45           reporting that checks were given when, in fact, no
     46           checks were ever written as campaign donations.
     47
     48   JG:     Yeah.
     49
     50   TC:     And the same thing in your race.               You -- and this is

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                                                                     52
      1           why I was like maybe you've had these conversations,
      2           because if you gave your ghost candidate cash --
      3
      4   JG:     Uh-huh.
      5
      6   TC:     -- they had to falsely report on their campaign
      7           treasurer's report how they got that money.
      8
      9   JG:     Which they did.
     10
     11   TC:     Which would be a check. But if you gave them cash,
     12           they're -- you know, that's -- that's how these
     13           schemes work. So that's why I'm trying to jog your
     14           memory, to see if it was discussed like that. Like,
     15           how are we going to get the funds there. And again,
     16           I understand the slang, you know, they're not going
     17           to talk -- talk like it. But if it -- I mean, if
     18           you look at Brodeur's race, it was razor thin any
     19           way you cut it.
     20
     21   JG:     Yeah.
     22
     23   TC:     And especially in Seminole County. It was only
     24           three -- barely 300 votes he won by, which is razor
     25           thin. It was only because of Volusia County it even
     26           looks like it was not that close.
     27
     28   JG:     Yes.
     29
     30   TC:     Um --
     31
     32   JG:     I remember him telling me that he was going to lose.
     33           He thought he would lose Seminole County.
     34
     35   TC:     So he was concerned and he needed something, a
     36           little extra help.
     37
     38   JG:     Yeah. He would -- they were -- I remember him
     39           telling me that they were targeting on Facebook
     40           conservative Democrats, independent voters, because
     41           they were going to paint his opponent as, you know,
     42           a flaming liberal, and he thought that he would win
     43           his -- his race in Volusia County.
     44
     45   TC:     Okay. And in -- then another coincidence -- and
     46           like you said, it's inconceivable he didn't know
     47           when the person who does help supply a name has been
     48           Paris somebody who works for --
     49
     50   JG:     Yeah.

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                                                                            53
      1
      2   TC:     -- Brodeur as -- as he said. Any conversation of
      3           like, oh, Ben will take care of it, or is Ben and
      4           Brodeur close? I mean, it's one thing to give
      5           somebody a job. It's another thing to be close
      6           outside of work and -- and have more than just a
      7           professional relationship.
      8
      9   JG:     Yeah.
     10
     11   TC:     Do you know about their relationship?
     12
     13   JG:     I don't know about their relationship.
     14
     15
     16
     17
     18
     19
     20   TC:     Uh-huh.
     21
     22   JG:     Appreciation.
     23
     24   TC:
     25
     26
     27
     28   JG:     He wouldn't need to pay Brodeur.
     29
     30   TC:     Okay.       Why's that?
     31
     32   JG:     They have, like, a brother relationship.
     33
     34   TC:     Okay.
     35
     36   FS:     Can I just clarify that -- I just want to -- your
     37           question, it just -- Brodeur -- I think you had said
     38           that Brodeur was present when there was talks about
     39           the third-party candidate.
     40
     41   TC:     Yeah.
     42
     43   JG:     That he -- and he was drunk, and he -- he drinks a
     44           lot, and he'd always be over at            house
     45           hammered so --
     46
     47   TC:     And -- and I get that. And again, and just so you
     48           understand, I mean, you know, 'cause I think if you
     49           read in the media and look at the portrayals of it,
     50           it's like, Oh, these ghost candidate schemes. Well,

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      1           those schemes happen all the time. The campaign
      2           financing is where it's the issue so it's like I --
      3           we can confederate together and run a ghost
      4           candidate as long as they pay their own way.
      5
      6   JG:     Yeah.       Why would they do that, though?
      7
      8   TC:     That's totally legal.
      9
     10   JG:     It defies the whole --
     11
     12   TC:     Well, if somebody wants to help their party. I
     13           mean, you could see overzealous people have got
     14           $1,300 left over. It's conceivable. But like you
     15           said, it's throwing bad money unless you're so die
     16           hard to help somebody. And actually, I'm finding
     17           out, digging deeper into these things, that actually
     18           happens or, you know, people screw up. So we're
     19           just going from there. Um, anything else on that
     20           line that you'd like to help out with?
     21
     22   SS:     Yes. So I just want to be -- make it very clear.
     23           You were present when Jason Brodeur is either
     24           participating in conversations, overhearing
     25           conversations with                  Ben Paris and/or
     26           Frank Artiles about third-party candidate running in
     27           the Senate 9 race; is that correct?
     28
     29   JG:     Yes.
     30
     31   SS:     But you don't know specifics with regard to the
     32           financing of that third-party candidate and the
     33           Senate 9 race; is that correct?
     34
     35   JG:     Correct.
     36
     37   SS:     The direct quote that you've offered us here today
     38           is that when asked about Brodeur's race --
     39
     40   JG:     Uh-huh.
     41
     42   SS:     -- the response was, "We've got it --"
     43
     44   JG:     Handled.         Uh-huh.
     45
     46   SS:     "-- handled."
     47
     48   JG:     Uh-huh.
     49
     50   SS:     And who made that comment?

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                                                                            55
      1
      2   JG:
      3
      4   SS:
      5
      6   JG:     Yeah.
      7
      8   SS:     And that comment, "We've got it handled," was in
      9           front of Brodeur, correct?
     10
     11   JG:     Absolutely, yes.
     12
     13   SS:     As it relates to these elected officials of which
     14           you were one at one time, does Jason Brodeur
     15           surround himself with individuals who can take care
     16           of these types of things on his behalf without him
     17           having to directly do it himself?
     18
     19   JG:     Yes.
     20
     21   SS:     And who would those individuals be?
     22
     23   JG:
     24
     25   SS:     Is there anyone else within his --
     26
     27   JG:     Frank Artiles.
     28
     29   SS:     Anyone else?
     30
     31   JG:     Eric Foglesong.
     32
     33   SS:     And so even though he is a candidate, may not be
     34           directly responsible for making payments or
     35           providing cash, there are people within his
     36           constellation of friendships and networking who are
     37           postured to be able to do so; is that correct?
     38
     39   JG:     Without a doubt.
     40
     41   SS:     But you were never privy -- that's a bad question.
     42           Were you ever privy to any conversations, though,
     43           about those issues of financing and the money and
     44           how that third-party candidate was going to be
     45           supported in the race?
     46
     47   JG:     No.     I -- I knew the recipe but not the ingredients.
     48
     49   SS:     Understood.
     50

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                                                                                 56
      1   JG:     Yeah.
      2
      3   FS:     What about the Reagan event?
      4
      5   JG:
      6
      7
      8   SS:     But Brodeur wasn't part of that conversation,
      9           correct?
     10
     11   JG:     I don't know.            I don't remember if he was there or
     12           not.
     13
     14   SS:     'Cause you've mentioned Bob Cortez.
     15
     16   JG:     Bob Cortez was sitting right there. Vennia Francois
     17           was standing there. We were in a circle having a
     18           conversation.
     19
     20   SS:     Do you remember Jason Brodeur participated in that
     21           conversation?
     22
     23   JG:     No.
     24
     25   SS:     Were there specifics being detailed?
     26
     27   JG:     Not that time, no.
     28
     29   SS:     Not that time?
     30
     31   JG:     No.     No.
     32
     33   SS:     Was -- was there some other time where there were
     34           specifics being detailed and Brodeur participated?
     35
     36   JG:     What do you mean by participated?
     37
     38   SS:     He's hearing it. 'Cause I -- if I -- if I'm
     39           confessing to some type of scheme and it's in front
     40           of the four of you and you're simply silent, Mr.
     41           Greenberg, about the scheme that I'm going to
     42           conduct with my fellow compatriots here, you're
     43           hearing it. You're aware of what's going on.
     44
     45   JG:     Yeah.
     46
     47   SS:     So in that way he may not have talked. He may not
     48           have offered anything. But is he within earshot and
     49           hearing about --
     50

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                                                                            57
      1   JG:     I don't know if this makes sense, but we talked
      2           about political strategy so often that it's
      3           difficult to pick out a specific conversation.
      4           That's how often we talked about this sort of stuff.
      5
      6   SS:     But do you have an independent recollection, though,
      7           of them -- and I don't mean to beat a dead horse
      8           here. But it's -- it's all -- I'm -- we're just
      9           trying to determine the facts. Independent
     10           recollection of Brodeur being present when specifics
     11           were detailed about the third-party candidate in his
     12           race?
     13
     14   JG:     Not about this specific person but the -- the -- he
     15           definitely was present because I would ask questions
     16           sometimes. So I got the information to use for my
     17           -- my campaign about the apparatus on how to do it.
     18
     19   SS:     Sure.
     20
     21   JG:     And -- and the -- the thinking behind it.
     22
     23   SS:     Pick a female.
     24
     25   JG:     Spanish-sounding name.
     26
     27   SS:     Hispanic- --
     28
     29   JG:     Exactly.
     30
     31   SS:     -- sounding last name.
     32
     33   JG:     Yes. NPA. Goes right to the November ballot and
     34           the logic behind it.
     35
     36   SS:     Understood.
     37
     38   JG:     Absolutely.           Yeah.
     39
     40   SS:     Okay.
     41
     42   TC:     There was something that you -- two names that came
     43           up in the e-mails that you sent. And it's not
     44           directly related to --
     45
     46   FS:     Sure.
     47
     48   TC:     -- this but, uh, it may be related to help other
     49           prosecutors. I'm just curious. Um, you -- 'cause
     50           you had pointed out the -- the females who were put

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                                                                              58
      1           up to be the chairmans [sic] of these PACs with the
      2           Grow United and everything. It was Sierra Olive
      3           [phonetic] and then the last name DeFilippis or --
      4
      5   FS:     Hailey DeFilippis.
      6
      7   SS:     Hailey.
      8
      9   TC:     Hailey.        That's right.
     10
     11   SS:     Yeah.
     12
     13   FS:     Hailey DeFilippis.
     14
     15   TC:     And so I was curious, did -- were these people you
     16           personally knew?
     17
     18   LM:     Was this -- yeah.               Is this --
     19
     20   TC:     This is from the FBI e-mail.                   I --
     21
     22   FS:     Yeah.
     23
     24   TC:     -- I labeled as Item 3.
     25
     26   FS:     Sure.
     27
     28   TC:     You sent it to them on Monday, April 12, 2021.        You
     29           sent it to me May 25th, 2022.
     30
     31   FS:     Okay.
     32
     33   TC:     If you can just read that.
     34
     35   FS:     I hate reading my own -- own e-mails.
     36
     37   JG:     No, I don't --
     38
     39   FS:     Well, this is -- I mean, we --
     40
     41   TC:     Did you -- did you have an association with them?
     42
     43   JG:     No.
     44
     45   TC:     Okay.
     46
     47   JG:     Not that I -- not that I know of.
     48
     49   TC:     And who --
     50

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                                                                    59
      1   FS:     And let me just put this on the record. I guess I'm
      2           under oath, too. This was independent investigation
      3           I had that I provided to the FBI --
      4
      5   TC:     Okay.
      6
      7   FS:     -- to give them investigative tools.
      8
      9   TC:     I got it.          I -- I just -- I --
     10
     11   FS:     Yeah. Okay. So I -- I just want to let you guys
     12           know that and I was the one who came up with --
     13
     14   TC:     With the phone number and everything?
     15
     16   FS:     Yes.      That was --
     17
     18   TC:     When I was looking at it I thought that maybe it was
     19           a circle and he knew them or something.
     20
     21   FS:     Yeah, I said I did -- I just said -- I just -- I
     22           didn't -- so that was actually -- I know which --
     23           exactly what you're talking about. That was me.
     24
     25   TC:     Got it.        All right.
     26
     27   FS:     Okay. You -- you actually have proven that your
     28           lawyer works for you.
     29
     30   JG:     Ah.
     31
     32   FS:     (Unintelligible).
     33
     34   TC:     Well I -- I wanted to clear that up --
     35
     36   JG:     Yeah.
     37
     38   TC:     -- just because I'm aware of other things that --
     39
     40   FS:     Sure.
     41
     42   TC:     -- are not part of us, but it's kind of a courtesy
     43           to other investigators --
     44
     45   FS:     I understand.
     46
     47   TC:     -- if there's information they need to know about.
     48
     49   FS:     Yeah.
     50

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                                                                                  60
      1   TC:     I got a duty to get that to them.              So that has no
      2           relevancy --
      3
      4   FS:     That was me being --
      5
      6   TC:     -- (unintelligible).
      7
      8   FS:     -- Dick Tracy.
      9
     10   TC:     Understood.
     11
     12   FS:     Okay.
     13
     14   TC:     And I'll just -- and that's -- that's perfect 'cause
     15           that clears that.
     16
     17   FS:     Uh-huh.
     18
     19   TC:     Um, but because you talked about Frank Artiles
     20           and -- and knowing him, communicating with him, I'm
     21           going to throw out a few names to see if it jogs
     22           your memory. Do you -- were you aware of anything
     23           involving the PAC Floridians for Equality and
     24           Justice?
     25
     26   JG:     I want to say so -- it sounds like a stupid name
     27           they would put together as -- it's just right --
     28           it's in the playbook.
     29
     30   TC:     They sent mailers during the primary with Sigman and
     31           Ashby. So that was all for the primary that the
     32           mailers that were sent out to the Seminole County
     33           voters, and, you know, the voters for District 9 for
     34           that primary came from Floridians for Equality and
     35           Justice. Does that ring any sort of bell, any
     36           discussions you had with anybody?
     37
     38   JG:     Is that an established PAC?
     39
     40   TC:     Define "established."
     41
     42   JG:     That predates the 2020 election?
     43
     44   TC:     No.
     45
     46   JG:     Okay. That -- no. Not that -- that's right up the
     47           ball -- as some stupid corny thing they would use to
     48           make it sound legitimate.
     49
     50   TC:     Okay.       I --

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                                                                            61
      1
      2   JG:     That's just --
      3
      4   TC:     Do you have -- does anything --
      5
      6   JG:     -- that's --
      7
      8   TC:     -- I mean, did you have discussions about how this
      9           is done? The -- that with these PACs?
     10
     11   JG:     Yeah. They use -- yeah. They use a name like that.
     12           They get outside funding. They've got a number of
     13           people -- I mean, it's not -- not a whole lot of
     14           sophistication around it. They've got a number of
     15           people who do mailers.                 would often
     16           send me, um, mailers that were demos to see what I
     17           liked. I had a creative eye with this -- with this
     18           stuff. And he -- he would bounce ideas off of me.
     19           So you get a guy that you see and you mail those
     20           out. I mean, it's just --
     21
     22   TC:     Sure.       But it --
     23
     24   JG:     -- the problem is that they're not very good at it.
     25           But --
     26
     27   TC:     -- the Floridians for Equality and Justice, again,
     28           was specifically designed for the Senate District 9.
     29
     30   JG:     Yeah.       I'm sure.
     31
     32   TC:     And that's why I asked that it could have been
     33           something that came up in conversation.
     34
     35   JG:     Not that name, no.
     36
     37   TC:     Okay.
     38
     39   JG:     But that name is someone they would totally pick.
     40
     41   TC:     Frank Artiles, again, he would have been the one
     42           more than likely discussing this with Floridians for
     43           Equality and Justice.
     44
     45   JG:     Yeah.       I --
     46
     47   TC:     Potentially.
     48
     49   JG:     -- um, yeah, I can't tie him directly to that, no.
     50

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                                                                                     62
      1   TC:     Okay. All right.                Um, have you ever heard the name
      2           Stafford Jones?
      3
      4   JG:     Yeah, a quarterback for the Rams.
      5
      6   LM:     Pardon?
      7
      8   JG:     Is that on -- the quarterback for the Rams?
      9
     10   TC:     No. It's -- no, not Matthew Stafford but Stafford
     11           Jones.
     12
     13   JG:     Stafford Jones?
     14
     15   TC:     Or Stephen Jones.
     16
     17   JG:     Stephen Jones.             I could have.
     18
     19   TC:     Okay.
     20
     21   JG:     They both -- they both sound familiar, but I -- I
     22           can't place them anywhere.
     23
     24   TC:     Specifically dealing with PACs.
     25
     26   JG:     Out of Tallahassee?
     27
     28   TC:     Uh, in some sense.                They live in Alachua or
     29           Gainesville area.
     30
     31   JG:     Not that I can directly recall.
     32
     33   TC:     Lots of ties to Tallahassee.
     34
     35   JG:     Yeah.
     36
     37   TC:     And all that.            Again --
     38
     39   JG:     I -- I can't directly say.
     40
     41   TC:     -- I now know how the game works with it.
     42
     43   JG:     Yeah.       Yeah.       I'm sure, yeah.
     44
     45   TC:     Uh, and again, I'm -- I'm not --
     46
     47   JG:     And that probably predates 2020 and all this, too.
     48
     49   TC:     Some of it does.
     50

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                                                                            63
      1   JG:     Yeah.
      2
      3   TC:     Yeah.       So again--
      4
      5   JG:
      6
      7
      8
      9
     10
     11
     12
     13   FS:     No.     That --
     14
     15   JG:     Especially with the -- with the
     16           2018 --
     17
     18   FS:     I'm being taped so I'm not gonna say --
     19
     20   JG:     -- yeah.
     21
     22   FS:     -- anything.
     23
     24   JG:     All right.
     25
     26   TC:     Okay. Um, I'm trying to think of any other names.
     27           Do you have any?
     28
     29   SS:     Adam --
     30
     31   LM:     Associated --
     32
     33   SS:     -- Karvoski.            Do you recognize the name --
     34
     35   TC:     That's all right.
     36
     37   SS:     -- Adam Karvoski?
     38
     39   JG:     Is he out of the Panhandle?
     40
     41   SS:     (No audible response).
     42
     43   JG:     No.     I -- I --
     44
     45   TC:     It's Todd Karvoski.
     46
     47   SS:     Oh, Todd.
     48
     49   LM:     Todd Karvoski.
     50

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                                                                            64
      1   SS:     Right.        I forget the -- Todd Karvoski.
      2
      3   JG:     Todd.       No.
      4
      5   TC:     Um, Adam Heath or James Adam Heath or Adam Heath?
      6
      7   JG:     I -- I can't --
      8
      9   TC:     Okay.       One more.         Stephen Smith.
     10
     11   JG:     God, that's not --
     12
     13   TC:     I know.        But this would be a cousin of Ben Paris.
     14
     15   JG:     Stephen Smith?
     16
     17   TC:     Yeah.
     18
     19   JG:     Possibly.          I mean, it's a very, very --
     20
     21   TC:     Sure.
     22
     23   JG:     -- general name.              Possibly.
     24
     25   TC:     Okay. Um, the other two names are people who are
     26           friends with Foglesong. Mr. Karvoski -- did you
     27           guys ever go to the --
     28
     29   SS:     Twin Peaks.
     30
     31   TC:     -- Twin Peaks in Altamonte?
     32
     33   JG:     Oh, yeah.          Oh, yeah.         All the time.
     34
     35   TC:     With Foglesong?
     36
     37   JG:     Oh, yeah.
     38
     39   TC:     Okay.
     40
     41   JG:     Yeah.
     42
     43   TC:     That's why -- especially Karvoski because that's
     44           where he met Foglesong. Do you -- so --
     45
     46   JG:     That's where I met him?
     47
     48   TC:     No, no, no.
     49
     50   JG:     Oh.

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                                                                                   65
      1
      2   TC:     Foglesong and Mr. Karvoski met at the Altamonte Twin
      3           Peaks.
      4
      5   JG:     Yeah.                      would have been there.
      6
      7   TC:     I believe so.
      8
      9   JG:     Yeah.
     10
     11   TC:     Possibly.          Um, but again, does that name ring a bell
     12           with you?
     13
     14   JG:     Not the last name.                I mean, it would have been a
     15           first name.
     16
     17   TC:     Todd.
     18
     19   JG:     Yeah.       So that's --
     20
     21   TC:     He had a girlfriend at the time that lived in
     22           Altamonte. Um, so that's why he would frequent
     23           there and ran into Foglesong.
     24
     25   JG:     Can't say for certain.
     26
     27   TC:     Um, I think that's all the names.
     28
     29   SS:     I don't have any additional.
     30
     31   TC:     Doug Crawford's the only other name that's just
     32           loosely associated. And that's only 'cause Iannotti
     33           brought it up.
     34
     35   JG:     Uh-uh.
     36
     37   TC:     Okay.
     38
     39   LM:     Going into the Miami one. I can't remember the name
     40           of the -- the other gentleman.
     41
     42   TC:     Oh, that was, um, the other candidate?
     43
     44   LM:     I can't remember the name.
     45
     46   TC:     It -- it -- I know. It's very common.                 Like a Jorge
     47           Rodriguez or -- or something. Um --
     48
     49   LM:     Do you have any other -- do you remember anything or
     50           any discussion pertaining to the races itself in

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                                                                                              66
      1           Miami where Artiles is --
      2
      3   SS:     I would say he was House 23.
      4
      5   LM:     -- being --
      6
      7   JG:     Yeah.
      8
      9   SS:     He was House 23.
     10
     11   JG:     Just that they used a name that would have been a
     12           Spanish name and confuse people. The -- that's --
     13           but, no, not the specific -- well, that -- well,
     14           I -- I remember hearing about it and laughing 'cause
     15           it's just -- it's -- it's literally just something
     16           we would talk about. One of the papers had written
     17           something about it, and I was -- I was laughing
     18           'cause it's, like, verbatim the stuff we would talk
     19           about at                  house. And --
     20
     21   TC:     Where -- were you, uh, in custody or on bail on
     22           April 8th of 2021?
     23
     24   JG:     Yeah.
     25
     26   LM:     (Unintelligible).
     27
     28   JG:     I was in -- in here.
     29
     30   FS:     He was in custody.
     31
     32   TC:     You -- he was in custody?                       Okay.
     33
     34   FS:     It's anything after February 2020.
     35
     36   TC:     Anything after February.                       Okay.    Thank you.   Um,
     37           it's just --
     38
     39   FS:     or late February.               It's late February.
     40
     41   TC:     -- it was weird because                                 abruptly resigned
     42           from the
     43
     44   JG:     Yeah.       'Cause of all this stuff going on with --
     45
     46   TC:     On April 8th, after there was an article --
     47
     48   JG:     I'm gonna -- yeah, I could tell them whatever, I
     49           guess.
     50

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                                                                                67
      1   FS:     You can tell them everything.
      2
      3   JG:     Yeah.       Because this --
      4
      5   TC:     Okay.
      6
      7
      8
      9
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24   JG:                       And I don't -- I don't know what
     25           came out to the media. I -- I don't have access to
     26           the -- to the paper or anything like that. So only
     27           thing I would know is what -- what Abby would tell
     28           me.
     29
     30   TC:     Right.
     31
     32   JG:     I guess some stuff was in Politico.            I don't know
     33           what was --
     34
     35   TC:     Sure.
     36
     37
     38
     39
     40
     41   TC:     Got it.
     42
     43   JG:     It's a significant move for him.
     44
     45   TC:     Yeah. There's just -- the Sentinel put out an
     46           article. It was mostly about the ghost candidate
     47           scheme and stuff. But there was a little more
     48           information that came out. Um, and then -- then he
     49           resigns. That stuff was kind of already out there,
     50           from my recollection and stuff.

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                                                                            68
      1
      2   JG:
      3
      4
      5   FS:
      6
      7   LM:     I don't --
      8
      9   FS:     -- I don't know if the -- I don't think there's ever
     10           been a public --
     11
     12   JG:     Is -- is there -- you haven't?
     13
     14   TC:     I don't think anything that links --
     15
     16   JG:     Okay.       All right.
     17
     18   TC:
     19
     20   JG:     Then somehow he -- he was -- he was interviewed --
     21
     22   TC:     But there was election stuff and everything so maybe
     23           he was interviewed that day and it's just a
     24           coincidence --
     25
     26   JG:     Something, yeah.
     27
     28   TC:     -- on the article and stuff.
     29
     30   JG:     He didn't --
     31
     32   TC:     But if you were in here there wouldn't have been --
     33           you know, 'cause it seems like there's a lot of
     34           communication around the 8th because the other thing
     35           that's interesting is there's -- Foglesong reaches
     36           out to all the straw donors on the 8th. That's why I
     37           thought it was more so associated with the election
     38           stuff than it was any possible things.
     39
     40   JG:     They were all probably freaking out.
     41
     42   TC:     Well, and the other thing I want to touch on,
     43           this -- this was in, um, kind of the intelligence
     44           that we're able to have access to and everything.
     45           Um, and just so we know as we move forward with Mr.
     46           Foglesong, he came up as being linked to the
     47                 basically. Um, and some -- some intel that we
     48           were able to -- to gather before we even were -- at
     49           the beginning of this investigation.
     50

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                                                                            69
      1
      2
      3   JG:
      4
      5
      6
      7
      8
      9
     10
     11
     12
     13
     14
     15   TC:
     16
     17
     18
     19
     20   JG:
     21
     22   TC:     But the -- any of these conversations with Brodeur
     23           and stuff involve any of                 'Cause I
     24           know you're kind of vague.
     25                                         So when -- as we're
     26           questioning people we kind of don't want to step
     27           into the arena of that, but were any of these
     28           political discussions that we're talking about with
     29           Brodeur present with Artiles and everything, was
     30           this also part of
     31
     32
     33   JG:     He -- uh, Brodeur was never really involved in
     34           anything
     35                                             No. I don't --
     36
     37   FS:
     38
     39
     40   JG:
     41
     42   FS:
     43
     44   JG:
     45
     46
     47
     48   TC:
     49
     50   JG:

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                                                                            70
      1
      2
      3
      4
      5
      6
      7   TC:
      8
      9
     10
     11
     12   JG:
     13
     14   TC:
     15
     16   JG:
     17
     18
     19   TC:
     20
     21
     22
     23
     24   SS:
     25
     26
     27   JG:
     28
     29
     30   LM:
     31
     32   JG:
     33
     34
     35
     36   LM:
     37
     38   JG:
     39
     40
     41   LM:
     42
     43   TC:
     44
     45
     46
     47   JG:
     48
     49   TC:
     50

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                                                                            71
      1   JG:     Well --
      2
      3   TC:     Again, money.            That's the only way --
      4
      5   JG:           didn't trust nothing so he didn't want
      6           anything to do with Foglesong.
      7
      8   TC:     Okay.
      9
     10   JG:     So that element, I would say --
     11
     12   LM:
     13
     14
     15   JG:
     16
     17
     18
     19
     20
     21
     22
     23   TC:
     24
     25
     26
     27
     28
     29   FS:     Well, I -- I --
     30
     31   LM:     Any other --
     32
     33   JG:     Have you -- have you talked to Chris --
     34
     35   FS:     -- I --
     36
     37   JG:     -- Anderson about any --
     38
     39   TC:     Well, that was another one I wanted to bring up.
     40           Thank you for reminding me. Chris Anderson's the
     41           current Supervisor of Elections.
     42
     43   JG:     Yeah.
     44
     45   TC:     He used to work for you.
     46
     47   JG:     Correct.
     48
     49   TC:     Was he involved in any of this?
     50

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                                                                            72
      1   JG:     No. But they may have -- they, the people we've
      2           talked about -- may have asked him for guidance on
      3           certain things, questions. Um --
      4
      5   SS:     Who's "they"?
      6
      7   JG:     Brodeur,            If there's any questions
      8           involving any elections, they would either ask
      9           or Anderson, both of who were friends and, you know,
     10           it's not uncommon -- I don't know if it was -- it's
     11           not uncommon for -- you -- you'd be able to ask
     12           Chris a question. Chris would kind of understand
     13           without having to say too much.
     14
     15   SS:     Anderson?
     16
     17   JG:     Yeah. He, in no way, shape or form, was involved in
     18           any of the schemes. I don't even know how competent
     19           he was at his job come 2020. He was still learning
     20           it. He probably -- you know, he probably knew it.
     21           Um, however, they -- they may have asked him
     22           questions or guidance, that sort of things. I know
     23           I did. You know, Hey, I'm going to do this. How do
     24           you do it? Well, in theory, if you're going to do
     25           this, you would have done that.         though, was
     26           the only other person maybe you want to talk to,
     27           'cause he knows election matters.
     28
     29   LM:     Any other politicians, um, elected officials in
     30           these parties?
     31
     32   JG:     (No audible response).
     33
     34   LM:     From anywhere in the state.
     35
     36   JG:
     37
     38
     39   SS:
     40
     41
     42
     43   JG:
     44
     45   SS:
     46
     47
     48
     49   JG:     Okay.
     50

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                                                                            73
      1   SS:     -- let's kind of exhaust the line of questioning as
      2           it relates to Senate 9 just so we don't get
      3           confused, if that's all right.
      4
      5   TC:     Right. And I just want to make it clear, again, you
      6           know, with what we're looking at. With, um,
      7                                      was he partied to
      8           conversations about Senate District 9 and the ghost
      9           candidates scheme? Firsthand knowledge that you
     10           were there and he knows. So you'd be somebody to
     11           corroborate.
     12
     13   JG:           was at            house. What I -- what I
     14           recall, this one specific time      was on his
     15           phone walking around the pool. I don't know if
     16           you've ever been to         house. All right? Have
     17           you?
     18
     19   TC:     I -- no.
     20
     21   JG:     Okay.       There's a pool in the back yard.
     22
     23   TC:     Okay.
     24
     25   JG:     And it's an open back yard area. So if he was
     26           walking around, I remember him. I remember sitting
     27           on the couch talking to           Paris was there
     28           and -- and Brodeur. Um, I know I -- no, not
     29           specifically.
     30
     31   TC:     Okay.
     32
     33   JG:     But again, it's --
     34
     35   TC:     But at this time there --
     36
     37   JG:     -- inconceivable that he would not know. These
     38           guys, they did everything as a -- as a group.
     39           Everything. They would -- initially got into the
     40           Florida House together as a group and they lived
     41           together. They went to school together. And
     42           they --
     43
     44   TC:     Sure. Did -- do you know if             gave money
     45           to fund the qualifying fee to Eric Foglesong?
     46
     47   JG:     I don't. I know that       had a -- has significant
     48           influence over some of the medical marijuana people
     49           specifically out of Denver that do business with
     50           Florida. Um, there's a relationship between Nikki

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                                                                            74
      1           Fried's fiancé and           and -- and
      2           fundraising. Uh, Jacob is his name.
      3
      4   TC:     Okay.
      5
      6   JG:     So, no, not specifically --
      7
      8   LM:     There was a --
      9
     10   JG:     -- I don't I -- know of a smoking gun.
     11
     12   TC:     Sure.
     13
     14   LM:     I just -- there was a check that was to have been
     15           from Nikki Fried's boyfriend to the Reagan thing,
     16           right? The event, the Reagan event?
     17
     18   JG:     (No audible response).
     19
     20   LM:     Or a check that was given by Nikki Fried's boyfriend
     21           to --
     22
     23   JG:     There was an event that I was at where -- where
     24           Nikki Fried's boyfriend gave a check to         But
     25           I mean, it was for his --
     26
     27   LM:     Okay.
     28
     29   JG:     -- it was, like -- it was a like 50 grand or a
     30           hundred grand --
     31
     32   LM:     Sorry.        I just wanted to clarify that.
     33
     34   TC:     Right.
     35
     36   JG:     It was the one that Roger Stone was at and
     37
     38
     39   TC:     Okay. Did you fund the qualifying fee for the
     40           Senate District 9? Since you talked about cash and
     41           -- and paying people.
     42
     43   JG:     No.
     44
     45   TC:     Okay. Do you know if Jason Brodeur gave any cash to
     46           Eric Foglesong to fund the qualifying fee?
     47
     48   JG:     No.     I don't think Jason --
     49
     50   TC:     Do you know --

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                                                                                      75
      1
      2   JG:     -- was -- I don't think Jason is as affluent as --
      3           as someone like
      4
      5   TC:     Okay. Do you know firsthand that           gave cash
      6           to Eric Foglesong to provide the qualifying fee for
      7           Jestine Iannotti's candidacy?
      8
      9   JG:     No, I don't know for -- I don't have --
     10
     11   TC:     Is that your hunch that it would have been him if
     12           anybody provided money to Eric Foglesong for that?
     13
     14   JG:     He would have been involved.
     15
     16   TC:     Okay.                             did he provide the money to Eric
     17           Foglesong?
     18
     19   JG:                         didn't have any money.
     20
     21   TC:     Okay.
     22
     23   JG:     No.
     24
     25   TC:     Frank Artiles, did he provide the money to Eric
     26           Foglesong?
     27
     28   JG:     Could have.           Not that I'm aware of, though.
     29
     30   TC:     Understood. Okay. Stacey, I think that's as direct
     31           with everything that I can possibly think at this
     32           time.
     33
     34   SS:     Great.
     35
     36   TC:     Okay.
     37
     38   SS:     Anything else, Inspectors, as it relates to Senate
     39           9?
     40
     41   TC:     Not at this point.                I'll rack my brain while you go
     42           through.
     43
     44   JG:     I hope that was helpful, like, somewhat, the context
     45           of everything.
     46
     47   TC:     Yes. No.           Thank you.          There -- there -- there's
     48           context.
     49
     50   JG:     It's like I know what these guys are doing.                 It's

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                                                                            76
      1           like --
      2
      3   FS:     Well, let's just --
      4
      5   JG:     -- but not to have --
      6
      7   TC:     Just don't --
      8
      9   FS:     -- just -- just hold on.
     10
     11   TC:     -- don't -- don't worry about it.
     12
     13   FS:     Let them -- let --
     14
     15   TC:     We --
     16
     17   FS:     You answer the questions.
     18
     19   TC:     -- yeah.         There's --
     20
     21   FS:     So, um, I will get the -- well, we'll go off.        We'll
     22           talk about this.
     23
     24   TC:     Yes.
     25
     26   FS:     But I'm going to get the -- I'm going to get the
     27           phone -- to get a copy, forensic copy of the phones.
     28
     29   TC:     That might be very beneficial.
     30
     31   FS:     All right?
     32
     33   SS:     Yes.
     34
     35   TC:     More so.         Um --
     36
     37   FS:     Put that on my list.
     38
     39   TC:     -- if you've got questions, I'm going to move it
     40           more to the center.
     41
     42   SS:     Well, I -- I -- I do. But I'm going to pivot and
     43           start talking about the tax collector's race and
     44           then the                                    . We
     45           can explore that. So are you okay to move away from
     46           a Senate 9 --
     47
     48   TC:     Absolutely.
     49
     50   SS:     -- line of questioning?

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                                                                             77
      1
      2   TC:     Please.
      3
      4   SS:     Okay.       So which would you like to talk about first?
      5
      6                                      or the tax collector's race?
      7
      8   JG:     We can get the tax collector's race out of the way.
      9
     10   SS:     Okay.       Tell me what year.
     11
     12   JG:     2020.
     13
     14   SS:     And you were running as the incumbent, correct?
     15
     16   JG:     Yes.      Yes.
     17
     18   SS:     And who was running against you?
     19
     20   JG:     I had two primary candidates with the Republican
     21           side, and then there was one, um, on the Democrat
     22           side. And then there was the no party affiliation
     23           candidate so -- I was involved in.
     24
     25   SS:
     26
     27
     28
     29
     30   JG:     Yes.
     31
     32   SS:     When were you arrested?
     33
     34   JG:     Today two years ago.
     35
     36   SS:     Really?
     37
     38   JG:     Yes.
     39
     40   SS:     Okay.       So --
     41
     42   FS:     Uh-huh.
     43
     44   SS:     -- back on June the 23rd --
     45
     46   JG:     Yeah.
     47
     48   SS:     -- of 2020 you were arrested?
     49
     50   JG:     Yes.

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                                                                            78
      1
      2   SS:     So that's kind of in the throes of all of the
      3           positioning as it relates to that 2020 election,
      4           correct?
      5
      6   JG:     It's right after qualifying.
      7
      8   SS:     So, um, you didn't even make it to the primary,
      9           right?
     10
     11   JG:     Correct. I resigned about a week after being
     12           indicted.
     13
     14   SS:     So talk to me then. Understanding that we didn't
     15           get to even a primary election in your race, talk to
     16           me about the posturing that, um, took place with the
     17           NPA candidate, no party affiliation candidate as it
     18           relates to that 2020 tax collector's race for
     19           Seminole County Tax Collector.
     20
     21   JG:
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     24
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     14   SS:
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     17   JG:
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     19   SS:
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     21   JG:
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     31   SS:
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     33   JG:
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     36   FS:
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     38   JG:
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     42   SS:
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     44   JG:
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     49   SS:
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      3   JG:
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      5   TC:
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      7   JG:
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     12   SS:
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     16   JG:
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     18   SS:
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     21   JG:
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     23   FS:
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     27   JG:
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     29   FS:
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     32   JG:
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     35   FS:
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     37   SS:
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     39   FS:
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     41   JG:
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     48   FS:
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     50   JG:

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                                                                            81
      1
      2   FS:
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      4   JG:
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      7   FS:
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     10   JG:
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     12   FS:
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     14   JG:
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     20   SS:
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     28   FS:
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     30   SS:
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     32   JG:
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     34   SS:
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     36   JG:
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     38   SS:
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     40   JG:
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     42   SS:
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     44   JG:
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     46   FS:
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     50   JG:

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                                                                            82
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      3   TC:
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      6   JG:
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      8   SS:
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     10   TC:
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     12   SS:
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     17   JG:
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     19   SS:
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     21   JG:
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     23   SS:
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     25   JG:
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     27   SS:
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     29   TC:
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     33   JG:
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     35   TC:
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     37   JG:
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     40   TC:
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     42   SS:
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     44   JG:
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     46   FS:
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     48   JG:
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                                                                            83
      1
      2   FS:
      3
      4   TC:
      5
      6   SS:     I -- I'm mindful of the category of offense as we
      7           discuss this under state statute, as well. Be they
      8           either third-degree felonies or first-degree
      9           misdemeanors and the time frame that we are
     10           discussing in terms of statute of limitations.
     11
     12   TC:     I have some felonies for you.
     13
     14   SS:     Okay, very good.
     15
     16   TC:     If the -- if the -- if the amount's correct and I
     17           found a new statute while you were out. So we'll
     18           discuss.
     19
     20   SS:     Okay. All right. Very good. All right. Um, what
     21           other questions as it relates to the tax collector?
     22
     23   LM:     Was anyone else involved in this?
     24
     25   JG:     (No audible response).
     26
     27   LM:
     28
     29   JG:
     30
     31   LM:
     32
     33   JG:
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     35   LM:
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     37   JG:
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     40   TC:
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     43   JG:
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     45   TC:
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     47   JG:
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     49   TC:
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                                                                                       84
      1   JG:
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      7   TC:
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     10   JG:
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     12   TC:
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     14   JG:
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     16   TC:
     17
     18
     19   JG:
     20
     21   TC:     Okay. Um, the Anthony Sabatini, I -- if I'm
     22           remembering correctly, does he not live in Lake
     23           County area?
     24
     25   JG:     Yes.
     26
     27   TC:     Okay.
     28
     29   JG:     Yeah.
     30
     31   TC:     So I'm still trying to figure out why someone from
     32           Lake County would be called in to help you at the
     33           Tax Collector Office.
     34
     35   JG:     'Cause                               asked.
     36
     37   TC:     But was he -- was he an attorney or what --
     38
     39   JG:     Yeah.       Yeah, yeah, yeah.
     40
     41   TC:     -- what was your understanding?                Okay.
     42
     43   JG:     He had just --
     44
     45   TC:     All right.          That's different.
     46
     47   JG:     -- he had just passed the Bar.                 And I wanted to get
     48           him some experience plus --
     49
     50   TC:     Okay.

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                                                                            85
      1
      2   JG:     -- give him some money coming in.
      3
      4   TC:     Got it.
      5
      6   JG:     But it was another thing. Once I got indicted, I
      7           mean, it's just -- all those things kind of --
      8
      9   TC:     Did you ever run in circles with any of the Orange
     10           County Republican operatives for doing county
     11           commission races and stuff like that?
     12
     13   JG:     Some, yeah.
     14
     15   TC:     Were you aware of a write-in scheme for a county
     16           commission seat in 2020?
     17
     18   JG:     (No audible response).
     19
     20   TC:     For Orange County.
     21
     22   JG:     Only one?
     23
     24   TC:     Well, there could have been more. There was one
     25           that I've stumbled across that could have legs for a
     26           possible criminal investigation. Um, so I'm just --
     27           I'm just throwing out the -- I'll go through how I
     28           do it and then step up the information I give you to
     29           see if it jogs your memory. But did you have any
     30           discussions with somebody, uh, from Orange County
     31           about write -- this is a write-in ghost candidate
     32           scheme in this case.
     33
     34   JG:     No, not -- not -- not that I can recall.
     35
     36   TC:     Okay. Um, did you ever -- were you ever in
     37           communication or have run-ins with former Orange
     38           County Commissioner Scott Boyd?
     39
     40   JG:     No.
     41
     42   TC:     Okay. There was a treasurer that's out of Lake
     43           County but works in Apopka that's maybe pertinent to
     44           this, a David Rankin, who was involved in politics.
     45
     46   JG:     Rankin.        I know that name.
     47
     48   TC:     You know the name but have you had personal dealings
     49           with?
     50

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                                                                            86
      1   JG:     I know the name.              But not that I recall.
      2
      3   TC:     Okay.       That's all I have on that.
      4
      5   SS:     I have nothing else to add.
      6
      7   TC:     Okay.
      8
      9   LM:     And you wanted to follow up with --
     10
     11   SS:     I do. Anything else, though, as it relates to the
     12           tax collector before we pivot?
     13
     14   LM:     Not pertaining to the race.                    No.
     15
     16   SS:
     17
     18
     19   JG:
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     21   SS:
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     23   JG:
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     25   SS:
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     27   JG:
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      5   SS:
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      7   JG:
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      9   SS:
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     11   JG:
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      6   SS:
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      8   JG:
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     10   SS:
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     12   JG:
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     14   LM:
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     16   JG:
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     21   SS:
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     25   JG:
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     27   SS:
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     29   JG:
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     47   SS:
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     49   JG:
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                                                                            89
      1   SS:
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      3   JG:
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      5   SS:
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      8   JG:
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     10   SS:
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     14   JG:
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     19   LM:
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     21   JG:
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     46   SS:
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     48   JG:
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     50   SS:

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      1
      2   JG:
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      4   SS:
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      6   JG:
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     16   SS:
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     20   JG:
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     22   SS:
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     26   JG:
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     28   SS:
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     30   JG:
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     32   LM:
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     34   SS:
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     36   JG:
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     38   SS:
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     41   JG:
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     47   SS:
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      4   JG:
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      6   SS:
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     10   JG:
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     12   SS:
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     14   JG:
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     16   SS:
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     21   JG:
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     36   SS:
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     47   SS:
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     49   JG:
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                                                                            92
      1   LM:
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      4   JG:
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      9   SS:
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     12   TC:
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     15   JG:
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     17   TC:
     18
     19
     20   JG:
     21
     22   TC:     Okay.
     23
     24   SS:     So with that, Inspectors --
     25
     26   TC:     I think he's got some.
     27
     28   LM:     It kind of was just general -- now that you're
     29           sitting there, honestly.
     30
     31   TC:     Did you want to -- Kruppenbacher?
     32
     33   LM:     Um, on a couple of names, just kind of pick your
     34           brains to see if anything flares up. A lot of them
     35           you just mentioned along the way. I mean that it
     36           seems that
     37
     38   JG:     Uh-huh.
     39
     40   LM:     Is that pretty much where everyone just gathered and
     41           just --
     42
     43   JG:     Yes. Yes. He had a big house and it's -- anything
     44           went, kind of.
     45
     46   SS:     Where was his wife?
     47
     48   FS:     That's -- that's what I was just going to tell you.
     49           And -- yeah.
     50

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                                                                             93
      1   JG:     Out. She would spend time at their place up in
      2           North Carolina.
      3
      4   SS:     Okay.
      5
      6   JG:     They have a house up in North Carolina.
      7
      8   SS:     So gone for extended periods of time?
      9
     10   JG:     Correct.         With a -- with a -- then toddler and --
     11           yeah.
     12
     13   SS:     Was she ever present for any of these meetings?
     14
     15   JG:     No.
     16
     17   SS:
     18
     19   JG:
     20
     21
     22
     23
     24   SS:     Was she present for any of the meetings with the
     25           principals that we've discussed?
     26
     27   JG:     When I was there, not that I recall. Her not being
     28           present during some of those I was not at would be
     29           also inconceivable to me.
     30
     31   FS:                                                    That's --
     32
     33   JG:     No, no.
     34
     35   LM:     Um, and again, it's more of a general -- anything
     36           that comes to mind that would be -- you would
     37           consider illegal that occurred. And if it's not,
     38           we'll stop you and we'll move on. And it's not a
     39           problem. Um, let's -- just throwing names out
     40           there, Mr. Bob Cortez.
     41
     42   JG:     Bob.      Um, no.        Nothing that I know of.
     43
     44   LM:     Okay.       Just because you just made -- Kruppenbacher.
     45
     46   JG:     Kruppenbacher, I mean, he -- I was introduced to
     47           Frank the end of '17. Um,           introduced him
     48           to me. Frank said that he wanted to do some legal
     49           work for the office. And I said okay. So I tried
     50           to find -- a lot of times I found myself trying to

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                                                                            94
      1           accommodate people, and I shouldn't have been.
      2
      3           And Frank drew up a contract that paid him, I think,
      4           $6,000 a month for a period of time to help with
      5           some legal matters. He really oversold what he
      6           could do. Um, he was supposed to set up -- he was
      7           supposed to set up some sort of either political
      8           action committee or something to help me in the 2020
      9           election. And that -- that's another thing he never
     10           got around to doing. But I paid him a lot of money
     11           for very little. I mean, he was paid a lot of money
     12           from the office and he didn't -- didn't really do
     13           anything.
     14
     15   LM:     What time period was that?
     16
     17   JG:     Um, all 2018, '19 into 2020.
     18
     19   LM:     So was there an agreement like not necessarily
     20           political but an agreement that, I'm gonna overpay
     21           the hell out of you, uh, for you to do nothing? You
     22           know, was it just to give you money or was it actual
     23           -- for actual work that he just underdelivered?
     24
     25   JG:     I think probably both.
     26
     27   SS:     What was the benefit to you?
     28
     29   JG:     He, Frank, would always say, Oh, I'm going to get
     30           you this, I'm gonna get you -- I'm gonna get you a
     31           political action committee and we'll raise a bunch
     32           of money for your, you know, re-election, or we'll
     33           have -- he would promise that he would do certain
     34           things at the office like set up some sort of a
     35           children's day. You know, we had kids come in and
     36           learn about the -- so he would sell me on the idea
     37           of something that would sound legit and just never
     38           follow through on anything. He did get me to a
     39           couple of events with -- with then Governor Rick
     40           Scott, some dinners, you know, with just, like, four
     41           or five people. But other than that, I mean, he was
     42           just getting paid to do nothing.
     43
     44   SS:     So access?
     45
     46   JG:     Yeah.
     47
     48   SS:     He provided you access?
     49
     50   JG:     Correct.         Yeah.

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                                                                             95
      1
      2   LM:     Was he paid by billing hours or was it -- was it
      3           just a kind of a --
      4
      5   JG:     It was -- it was a -- a monthly amount.
      6
      7   LM:     Monthly amount?
      8
      9   JG:     And then -- yeah. Then -- and then I believe he
     10           also had an amount in escrow.
     11
     12   FS:     An amount?
     13
     14   JG:     He had, like, 50,000 in escrow that he was -- at the
     15           beginning of the year he had like 40 or $50,000 or
     16           something.
     17
     18   LM:     Okay. But (unintelligible) technically his
     19           employment with your office was -- I hate to put it
     20           this way, somewhat legit. He was paid to do some
     21           work. But was it, again, an agreement from the get
     22           go, This is just to give you money?
     23
     24   JG:     I don't believe he did any work for the office. He
     25           said he was -- he had a lot of good ideas and their
     26           access to certain things that he'd provide. But --
     27           okay, now I do remember. Richard Anderson told
     28           me -- so Richard Anderson told me that the original
     29           -- so this is -- this was done behind my back, and I
     30           didn't learn about it till after the fact, that the
     31           amount of money that I paid him monthly to Frank
     32           Kruppenbacher was supposed to be split behind the
     33           scene 50/50 with Richard Anderson.
     34
     35   LM:     For --
     36
     37   JG:     Just because I was known to give out contracts to
     38           people and not follow up.
     39
     40   LM:     All right.          Was there a contract with Kruppenbacher?
     41
     42   JG:     Yes.
     43
     44   LM:     That I believe you said he did himself?
     45
     46   JG:     Correct.
     47
     48   LM:     Okay.       Um, what was his involvement with GOAA?
     49
     50   JG:     Well, he was the chairman for a while.

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                                                                              96
      1
      2   LM:     How did he get the spot?
      3
      4   SS:     Was he chairman or was he legal counsel?
      5
      6   JG:     No, he was chairman.
      7
      8   FS:     I don't know, honestly.                   So --
      9
     10   JG:     He was chairman.              Legal counsel was Marchena.
     11
     12   SS:     Marchena.
     13
     14   JG:     There was a lad -- so, uh, how did he get the spot?
     15           From Rick Scott. Yeah. It's -- I don't -- I don't
     16           know the --
     17
     18   LM:     Particulars.
     19
     20   JG:     I came on to the scene. I mean, you know,
     21           (unintelligible) he did not win anything, anybody.
     22           So, yeah. That's -- but there -- there was -- Frank
     23           would allude to certain things that there was a lot
     24           of overflow between UCF and GOAA board as far as
     25           vendors and different people. I know Marchena was
     26           involved as legal counsel, right? Yeah. Both. I
     27           think. But I don't -- I don't -- this stuff was
     28           over my head.
     29
     30   LM:     Okay. Anything else you know about Mr.
     31           Kruppenbacher?
     32
     33   JG:     Nothing criminal.
     34
     35   LM:     Okay. All right. Oh. Um, have you had any
     36           dealings with elected officials like outside the
     37           county? Just throw out a name. Charles Culp.
     38
     39   JG:     Charles Culp?
     40
     41   LM:     Culp.
     42
     43   JG:     No.     I don't think so.
     44
     45   LM:     No?     Okay.       Um --
     46
     47   JG:     There would be times -- not often, but there were
     48           times where I was asked to donate to a campaign,
     49           some nominal amount, and I would.
     50

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                                                                                  97
      1   LM:     All right.          Janet Cohen [phonetic]?
      2
      3   JG:     No.
      4
      5   LM:     No? All right. You mentioned something in
      6           Gainesville pertaining to          and him wanting
      7           to -- I wish I would have asked at that point 'cause
      8           I don't remember. Him wanting to get something
      9           passed.
     10
     11   JG:     There were different legislators that he would know
     12           who would file bills on his behalf, pretty much.
     13           One of them was out of Gainesville. I don't know
     14           the guy's name.
     15
     16   SS:     Is it Baxter?
     17
     18   JG:     Yeah.
     19
     20   LM:     Anything particular about --
     21
     22   SS:     Dennis Baxter?
     23
     24   JG:     Yeah.
     25
     26   SS:     He's out of Ocala, I believe.
     27
     28   JG:     There you go, yeah.
     29
     30   LM:     Okay.
     31
     32   JG:     So that's one of the people he would use.
     33
     34   SS:     I don't want to testify, either.               But if that's your
     35           recollection --
     36
     37   JG:     That's -- that's -- that's one of the names that I
     38           remember coming up as far as people he knew.
     39
     40   SS:     And there was legislation, just to flesh out the
     41           topic, a few years ago -- within the last two to
     42           four years -- as you said, that would have limited
     43           the creation of either a preserve or some type of
     44           state or county-recognized --
     45
     46   JG:     Yeah.
     47
     48   SS:       -- land from being within a certain --
     49
     50   JG:     Yeah.

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                                                                                      98
      1
      2   SS:     -- distance of a university.                   And I think it was
      3           even a public university.
      4
      5   JG:     Correct.         Yes.
      6
      7   SS:     And was that --
      8
      9   JG:     Yes.
     10
     11   SS:     Was it your understanding that that was specifically
     12           because the land that           ad hoped to develop
     13           that was that Seminole County area east of Oviedo
     14           moving towards Orange County, was so close to UCF --
     15
     16   JG:     Correct.
     17
     18   SS:     -- that had the legislation passed, it would have
     19           been a benefit to          and his development
     20           project?
     21
     22   JG:     Correct. And I remember him talking to                         about
     23           that one, yeah. Yeah.
     24
     25   LM:     Anything --
     26
     27   JG:     Just something like, "Nice try," or, "That was
     28           slick," or something or -- he'd just -- he -- he
     29           couldn't catch a break with that development. You
     30           know, what he did, it just --
     31
     32   LM:     Did he ever get the Oviedo stuff passed that he
     33           want --
     34
     35   SS:     That's what that --
     36
     37   JG:     That's what we're talking about.
     38
     39   SS:     -- that's what that --
     40
     41   LM:     Oh, that is that -- it --
     42
     43   SS:     Yeah.
     44
     45   JG:     Yeah.
     46
     47   LM:     Okay.       That is pertaining to that, also?
     48
     49   JG:     That's what I'm talking about, yeah.
     50

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                                                                            99
      1    SS:     Yeah.       Yeah.
      2
      3    LM:     Okay.       Okay.
      4
      5    SS:     And what's the name?
      6
      7    JG:
      8
      9    SS:
     10
     11    LM:
     12
     13    SS:     And as a matter of fact, there's been protracted
     14            litigation from Seminole County. Seminole County
     15            has since won, um, and he's vowed --          has
     16            vowed an appeal. Tedrow was his attorney on some of
     17            it.
     18
     19    JG:     Uh-huh.
     20
     21    SS:     Trying to claim that it was a violation of, um --
     22
     23    JG:     Civil rights.
     24
     25    SS:     Correct.
     26
     27    JG:     Yeah.
     28
     29    SS:     'Cause there was an unfair -- a disproportionate
     30            number of certain --
     31
     32    JG:     They're racist.
     33
     34    SS:     -- in some housing out here and --
     35
     36    JG:     Yeah.
     37
     38    SS:     -- his development would have -- would have included
     39            a certain element of low-income housing. And so the
     40            fact that he wasn't permitted to develop -- hearing
     41            I'm on record, this is just my understanding. But
     42            that -- but there's been protracted litigation.
     43
     44    FS:     Yeah, he was (unintelligible).
     45
     46    SS:     So far he's lost.
     47
     48    TC:     Yeah.       He's got a --
     49
     50    FS:     He does --

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                                                                                       100
      1
      2    TC:     -- $500,000 fee on him now, too.
      3
      4    SS:     Judgment.
      5
      6    TC:     Judgment.
      7
      8    SS:     Against him for the trial fees for the county.
      9
     10    TC:     According to the media so I don't --
     11
     12    FS:     Yeah.
     13
     14    JG:     He's got a lot of --
     15
     16    FS:     That was Judge --
     17
     18    JG:     -- he got a lot --
     19
     20    FS:     -- it was Judge Conway's.
     21
     22    SS:     Yeah.
     23
     24    JG:     -- he does, yeah.               A lot invested in it.
     25
     26    FS:     Those -- yeah, she's a great judge.                 Judge Conway.
     27
     28    TC:     Now, this is Tedrow and                           Was Tedrow -- was
     29            Tara -- Tedrow, right?
     30
     31    FS:     Yeah.
     32
     33    TC:     Was she present at any of                               where these
     34            discussions took place?
     35
     36    JG:     No.     I saw her at a couple of fundraisers but not --
     37            no.
     38
     39    TC:
     40
     41
     42    JG:     Yeah. Yeah. And I know he had an intimate
     43            relationship with her.
     44
     45    TC:     Okay. But she was not present, somebody that was
     46            present --
     47
     48    JG:     No.
     49
     50    TC:     -- when that -- okay.                  Just to cover that.

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                                                                                         101
      1
      2    SS:     But she engages in the marijuana litigation on
      3            behalf of Lowndes, Drosdick.
      4
      5    JG:     Yes.
      6
      7    SS:     She's kind of considered a local expert as it
      8            relates to those issues.
      9
     10    JG:     Correct.
     11
     12    SS:     So how does that tie into the issues of Pirozzolo
     13            who also is on the short list, right, for having
     14            been medical director as it relates to some of
     15            these --
     16
     17    JG:     Yeah.       He would form the companies and --
     18
     19    SS:     Correct. So what about all that?                   Do you know
     20            anything about all that?
     21
     22    JG:     I mean --
     23
     24    SS:     Tara Tedrow, Pirozzolo,                        with the cannabis.
     25
     26    JG:     Yeah.       It's all intertwined.
     27
     28    SS:     Of course it is.
     29
     30    JG:     Yeah.
     31
     32    SS:     But what can you tell us about it?
     33
     34    JG:     From memory? I mean, what do you -- what do you
     35            want to know? I mean, specifically. I don't -- a
     36            lot of the stuff was done -- it was discussed some
     37            of it in front of me. I -- I didn't really
     38            understand a whole lot of it. It was a lot of
     39            legalese. But they -- they'd game the system. I
     40            mean, you know that. They -- they -- with the way
     41            the current process works with marijuana,
     42            essentially. The involvement was, um, from A to Z.
     43
     44    SS:     The farm licenses and --
     45
     46    JG:     Yeah.       You gotta be involved from the --
     47
     48    SS:     Right.
     49
     50    JG:     -- the whole -- the whole shebang.                   Um, yeah, it's

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                                                                              102
      1            all public record, though.
      2
      3    SS:     Do you have any indication that Tara Tedrow's
      4            engaged in anything illegal?
      5
      6    JG:     No. But I mean, she was involved -- and they had
      7            conversations, I mean, that's Sunshine Law violation
      8            but back when they tried to have her law firm
      9            appointed as the legal counsel for GOAA.
     10
     11    SS:     I was the prosecutor assigned to that investigation
     12            that was conducted by the Florida Department of Law
     13            Enforcement. So I'm aware of --
     14
     15    JG:     So you know what I'm talking about.
     16
     17    SS:     -- those allegations.
     18
     19    JG:     So there's stuff -- I'm sure there's a lot of stuff
     20            in there you can't prove but you know it was there.
     21            You know?
     22
     23    LM:     Anything pertaining to Mr. Bergmann as a --
     24            Bergmann? Nikki Fried's --
     25
     26    JG:     Oh, no. I've met him a couple of times. I know
     27            he's thrown a lot of money to       and the -- been
     28            involved in some stuff that I just wasn't privy to.
     29
     30    LM:     All right.          Um, just out of -- you were going to
     31            say?
     32
     33    TC:     If you just got a basic one --
     34
     35    LM:     Yes, I did.
     36
     37    TC:     -- I -- there was something I realized I wanted to
     38            cover.
     39
     40    LM:     Yeah, go ahead.
     41
     42    TC:     Regarding the Tax Collector's Office. The
     43            curiosity, um -- 'cause we look into a lot of
     44            government officials and things like that and a lot
     45            of times it's -- it's difficult because when
     46            somebody gets a count -- a budget as an elected
     47            official, a constitutional officer, they kind of get
     48            a blank check in some senses.
     49
     50    JG:     Some more than others.

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                                                                            103
      1
      2    TC:     So with your tax -- where's the money to -- coming
      3            from? What bucket is it comes out of where you can
      4            get this money to your friends to help out?
      5
      6    JG:     Yeah.
      7
      8    TC:     Is that coming out of the department of Revenue or,
      9            like, you know, for the -- the --
     10
     11    JG:     No.
     12
     13    TC:     -- firearms licenses, the -- the --
     14
     15    JG:     No.     Not coming -- not from that.
     16
     17    TC:     -- the (unintelligible).
     18
     19    JG:     So --
     20
     21    TC:     Okay.       So how -- can you kind of explain to us --
     22
     23    JG:     Yeah. So a lot of the stuff I learned from -- from
     24            -- from how Ray would operate.
     25
     26    TC:     Right.
     27
     28    JG:     And -- and -- and you guys really want to get some
     29            stuff, you need to look at Ray Valdes. Um, anyway,
     30            I'm just going to say this most frustrating part is
     31            not getting anybody to look at stuff that he did and
     32            stuff that I had evidence of, international money
     33            laundering.
     34
     35    FS:     Okay.       Okay.       Okay.       Okay.      Just --
     36
     37    JG:     I just -- I just wanted to say that.
     38
     39    FS:     -- just go on to the --
     40
     41    JG:     Okay? I'm talking like with the world's largest
     42            money launderer had correspondence --
     43
     44    FS:     Okay.       Joel.       Joel.
     45
     46    JG:     -- with (unintelligible) talking about how they're
     47            gonna --
     48
     49    FS:     Just stick to the question.
     50

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                                                                             104
      1    JG:     -- anyway, I had to say that.                  Okay?
      2
      3    FS:     All right.          Just stick to the question.
      4
      5    JG:     Been sitting on that for a while. Um, so the Tax
      6            Collector's Office, I mean, a lot of the money that
      7            comes in to it from fees associated with the DMV,
      8            that's all money that it is generated not really
      9            from the County, per se. So that money -- and
     10            there's, I don't know, 10 to 20 Tax Collector's
     11            Offices that are, like, fee-based, meaning they
     12            don't get their budget approved in the county. It's
     13            approved from the Department of Revenue. So they're
     14            self-sufficient to an extent.
     15
     16            I mean, on the operational side you would have
     17            certain buckets that are just filled up too much
     18            with, you know, your vendors, your -- your other --
     19            other items. Or you can move money around anywhere
     20            you want without having to have DOR approval, as
     21            long as you don't mess with the personnel side.
     22
     23    TC:     Okay.
     24
     25    JG:     And then some of the FRS comes into play and all
     26            that. Um, in addition to that, if we budgeted to
     27            purchase a $1.5 million, $2 million property and we
     28            don't spend that money, the money goes back to the
     29            County and it's not earmarked for anything. Um, and
     30            they can spend it however they want.
     31
     32            But more importantly, the next year, the tax
     33            collector can put that same $1.5 million in there,
     34            and it shows a zero percent increase to the budget.
     35            So if you do decide to spend that, you just move the
     36            money over from buying land to doing whatever you
     37            want with it. You can, I mean, buy a Ferrari if you
     38            want. And it's just not -- and that's the
     39            (unintelligible) office do whatever you want.
     40
     41    TC:     Now, and certain departments have auditors and stuff
     42            come through and then you gotta set budgets and
     43            stuff.
     44
     45    JG:     The auditing's a joke there.
     46
     47    TC:     Okay.
     48
     49    JG:     And especially the firm they use.                  God.
     50

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                                                                           105
      1    TC:     All right. Did -- did you have to pay anybody off
      2            to say, Look over here?
      3
      4    JG:     No. I didn't. I mean, I -- no, I didn't pay them
      5            off. They're already paid off. They already, you
      6            know -- they get these lucrative contracts. I think
      7            for the first time reasonably they maybe bid for
      8            them. But, you know, and then Dan O'Keefe and all
      9            these guys, they make political donations to all the
     10            people on the board. And I could have used a
     11            different firm if I wanted to, but, you know,
     12            they -- they -- they bring in people straight out
     13            of, you know, college.
     14
     15    TC:     Uh-huh.
     16
     17    JG:     And they'd sample some things but, no. I mean,
     18            there's a million ways to hide stuff. But they --
     19            they just didn't -- they didn't -- they weren't paid
     20            to catch stuff.
     21
     22    SS:     So it's not that they were paid off to do an
     23            incomplete or bad job. It's just that they did a
     24            bad job?
     25
     26    JG:     Why mess up something that's good? They're making
     27            so much money. Why rock the boat? They don't want
     28            to catch anything. They didn't care. Yeah.
     29
     30    SS:     But you didn't take proactive measures to pay them
     31            off?
     32
     33    JG:     No.
     34
     35    SS:     To ensure that.
     36
     37    JG:     No.     No, I didn't have to.
     38
     39    TC:     So the -- so the basic accounting function, you
     40            didn't have to do anything to hide what was going
     41            on?
     42
     43    JG:     No.
     44
     45    TC:     Okay.
     46
     47    JG:     No. I -- I was -- I would overload -- I mean, yeah,
     48            you said it. Especially as a -- as a constitutional
     49            officer, you know, you get the money first.
     50

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                                                                                  106
      1    TC:     Uh-huh.
      2
      3    JG:     Then you're like, Here you go.                 County had no
      4            control over it, pretty much.
      5
      6    TC:     Right.
      7
      8    JG:     But as long as the office was operating efficiently,
      9            which it -- it was -- I mean, Ray was so cheap with
     10            certain things that I could -- I increased the
     11            amount that we spent the first couple of years on
     12            legitimate things, and there was still money left
     13            over that I could play with.
     14
     15    TC:     Okay.
     16
     17    JG:     And then nobody would ever notice. I mean, at the
     18            end of the day you're the constitutional officer. I
     19            mean, if you say it's for something, unless it's
     20            just grossly negligent and -- and felonious, then
     21            that's what it's for.
     22
     23    TC:     Understood.
     24
     25    LM:     Anyone else like Kruppenbacher that you were just --
     26            contracts like that that --
     27
     28    SS:
     29
     30    LM:
     31
     32    JG:
     33
     34    LM:
     35
     36    JG:
     37
     38    LM:
     39
     40    SS:
     41
     42    FS:
     43
     44    JG:
     45
     46    SS:
     47
     48    JG:
     49
     50    SS:

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                                                                           107
      1
      2    JG:
      3
      4    SS:
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      6    JG:
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      8    SS:
      9
     10    JG:
     11
     12    SS:
     13
     14    JG:
     15
     16    FS:
     17
     18    JG:
     19
     20    FS:
     21
     22    JG:
     23
     24    SS:
     25
     26
     27    JG:
     28
     29
     30    TC:
     31
     32
     33    JG:
     34
     35    TC:
     36
     37    JG:
     38
     39    TC:
     40
     41    JG:
     42
     43
     44
     45
     46
     47
     48    FS:
     49
     50

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                                                                           108
      1    JG:
      2
      3    FS:
      4
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      6
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      8    JG:
      9
     10    FS:
     11
     12    SS:
     13
     14    JG:
     15
     16
     17
     18    FS:
     19
     20
     21
     22    JG:
     23
     24    FS:
     25
     26
     27    JG:
     28
     29    FS:
     30
     31
     32
     33
     34
     35    JG:
     36
     37    FS:
     38
     39    JG:
     40
     41    FS:
     42
     43    JG:
     44
     45    FS:
     46
     47    JG:
     48
     49    FS:
     50

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Case 6:23-cv-00871-CEM-DCI Document 61-1 Filed 08/08/23 Page 110 of 120 PageID 603
                                                                           109
      1    JG:
      2
      3
      4    FS:
      5
      6    JG:
      7
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      9
     10
     11
     12
     13
     14    TC:
     15
     16
     17    FS:
     18
     19    TC:
     20
     21    JG:
     22
     23    FS:
     24
     25    JG:
     26
     27
     28
     29
     30    FS:
     31
     32
     33    JG:
     34
     35    TC:
     36
     37    FS:
     38
     39    JG:
     40
     41    FS:
     42
     43
     44    SS:
     45
     46    LM:
     47
     48    SS:
     49
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                                                                           110
      1
      2
      3    FS:
      4
      5    SS:
      6
      7
      8    FS:
      9
     10    SS:
     11
     12    FS:
     13
     14    SS:
     15
     16
     17    JG:
     18
     19    FS:
     20
     21    SS:
     22
     23    FS:
     24
     25    JG:
     26
     27
     28    FS:
     29
     30    SS:
     31
     32    FS:
     33
     34    SS:
     35
     36    FS:
     37
     38
     39    SS:
     40
     41    FS:
     42
     43    SS:
     44
     45
     46
     47    JG:
     48
     49    SS:
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                                                                           111
      1
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      3
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      5    JG:
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      7    SS:
      8
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     10    FS:
     11
     12    SS:
     13
     14    FS:
     15
     16    SS:
     17
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     19
     20
     21
     22    FS:
     23
     24    SS:
     25
     26    FS:
     27
     28
     29    SS:
     30
     31    FS:
     32
     33    SS:
     34
     35
     36    JG:
     37
     38    FS:
     39
     40    SS:
     41
     42    FS:
     43
     44
     45
     46    SS:
     47
     48    FS:
     49
     50    SS:

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                                                                           112
      1
      2    FS:
      3
      4
      5    SS:
      6
      7    FS:
      8
      9    SS:
     10
     11    FS:
     12
     13    SS:
     14
     15    FS:
     16
     17    SS:
     18
     19    JG:
     20
     21    FS:
     22
     23    SS:
     24
     25    FS:
     26
     27
     28
     29    SS:
     30
     31    FS:
     32
     33    SS:
     34
     35    FS:
     36
     37
     38
     39
     40    SS:
     41
     42    FS:
     43
     44    SS:
     45
     46    FS:
     47
     48    SS:
     49
     50

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                                                                           113
      1    FS:
      2
      3    SS:
      4
      5    FS:
      6
      7
      8
      9
     10
     11    SS:
     12
     13    TC:
     14
     15    FS:
     16
     17    SS:
     18
     19
     20    FS:
     21
     22    SS:
     23
     24    FS:
     25
     26    SS:
     27
     28    FS:
     29
     30    TC:
     31
     32    SS:
     33
     34    FS:
     35
     36    SS:
     37
     38
     39    TC:
     40
     41    SS:
     42
     43    FS:
     44
     45    TC:     Now, um, I think I'm -- I mean, you're -- Mr.
     46            Scheller knows how to get in touch with me if
     47            anything comes to mind as you get time to reflect on
     48            it. Again, we're looking for specifics on things,
     49            but we're also the people that look into government
     50            officials statewide and the elected officials,

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                                                                            114
      1            representatives specifically, you know, the -- the
      2            higher-ups of the higher-ups. But again, specifics.
      3            And it all boils down to the money. I mean, people
      4            can postulate all they want --
      5
      6    JG:     Yeah.
      7
      8    TC:     -- about ghost candidates and schemes.
      9
     10    JG:     Yeah.
     11
     12    TC:     It all boils down to the money.
     13
     14    JG:     Yeah.
     15
     16    TC:     And any way we can show from that angle.         So --
     17
     18    JG:     The only -- the only other individual that I would
     19            say that -- that would -- was involved at
     20            request, um, that would do anything       said, and
     21                  would use for a lot of -- there was some
     22            schemes he told me that was the St. John Water
     23            Management District Chair.
     24
     25    TC:     Miklos?
     26
     27    JG:     Yes.
     28
     29    LM:     Miklos.
     30
     31    JG:     Yes. Yes.           That's another person that
     32            would --
     33
     34    LM:     What did he say?
     35
     36    JG:           kind of would tell me some of the schemes that
     37            they had where they would go in and have -- again,
     38            I'm not an expert at what -- like what he did, but
     39            let's say building is not approved to be built
     40            because there are environmental issues. Miklos
     41            would get greased off or something, and then they
     42            would all magically be approved. And this was rinse
     43            and repeat, what they would do. And Miklos would
     44            write checks a lot to be where       would ask him
     45            to write checks to.
     46
     47    LM:     Anything specific?
     48
     49    JG:     (No audible response).
     50

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                                                                           115
      1    LM:     No specific instances of that and when?
      2
      3    JG:     Not stuff I can remember. I mean,        did tell me
      4            about some stuff, but I just don't -- some of the
      5            stuff that he would tell me I -- I was unfamiliar
      6            with a lot of it. It was Latin to me.
      7
      8    LM:     Did he actually ever do any lobbying work for you,
      9            for the -- or was it just like a -- I'm giving you
     10            money contract?
     11
     12    JG:     I didn't know him really well at the time to --
     13
     14    LM:     Do that?
     15
     16    JG:     -- do that. So he said he was going to do this and
     17            that. A lot of the problems I think he created
     18            himself to be able to justify having a contract.
     19            So --
     20
     21    LM:     Anything else you have on
     22
     23    JG:     What do you want to know?
     24
     25    LM:     Anything concrete.
     26
     27    SS:
     28
     29
     30
     31
     32    JG:
     33
     34    SS:
     35
     36    FS:
     37
     38    JG:
     39
     40    SS:
     41
     42    JG:
     43
     44    FS:
     45
     46    JG:
     47
     48    FS:
     49
     50    TC:

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                                                                                116
      1
      2
      3
      4
      5
      6
      7
      8    JG:
      9
     10    TC:
     11
     12
     13    JG:
     14
     15    TC:     Okay.
     16
     17    JG:     Um, most of our conversations, though, were verbal.
     18
     19    TC:     Okay.
     20
     21    JG:     Yeah.
     22
     23    LM:     Um, I mean, other than general, what other type
     24            of -- I know. I know.
     25
     26    FS:     We'll be here -- we'll be -- you have the rest of
     27            the --
     28
     29    LM:     It's -- hey, man, I'm here.                    I'm here --
     30
     31    FS:     -- you've got the rest of the month?
     32
     33    LM:     -- (unintelligible).
     34
     35    TC:     Come back some other time?
     36
     37    LM:     No, specifically about campaigns and --
     38
     39    FS:     I'm teasing you.              I'm sorry.
     40
     41    LM:     -- um, campaign donations, straw donations, acts.
     42            You've mentioned that, you know, a lot of things
     43            were by the playbook like the names and everything.
     44            Anything else that -- that you guys discussed that
     45            would kind of cross over on the -- the illegal
     46            realm? Not just like, you know --
     47
     48    FS:     Sure.
     49
     50    LM:     -- I'm -- we're going to find a -- a write-in

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                                                                              117
      1            candidate that has a Spanish name as a female.
      2
      3    JG:     No.
      4
      5    LM:     Okay.       Anything else that you can think of just pops
      6            up?
      7
      8    JG:     There's nothing that pops up.
      9
     10    LM:     Okay.
     11
     12    FS:     I --
     13
     14    JG:     It was helpful with the questions that were asked,
     15            I've been able to confirm. But sitting in here for
     16            so long it's kind of --
     17
     18    FS:     I don't know about -- since I've gotten carte
     19            blanche approval from the government yesterday, I'm
     20            just going to send you all the e-mails I've sent
     21            over. Everything.
     22
     23    LM:     Okay.
     24
     25    FS:     You know? And I'll -- and I'll -- to avoid -- and I
     26            -- I'll avoid, like -- I'll clarify if there's
     27            anything that came from my dependent --
     28
     29    TC:     Sure.       Okay.
     30
     31    FS:     -- you know, work as opposed, you know, to --
     32
     33    TC:     Yeah.
     34
     35    FS:     Yeah.       Okay?
     36
     37    TC:     I -- no, that makes sense. I think there was just a
     38            lost communication in that one. Just, you know --
     39
     40    FS:     Yeah.
     41
     42    TC:     I see the names.              I'm familiar with it so --
     43
     44    FS:     Yeah.       And I'm --
     45
     46    TC:     -- so --
     47
     48    FS:     Yeah.       And I'm -- I'm --
     49
     50    TC:     Sounds good.            Okay.

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                                                                               118
      1
      2    JG:     What was -- what was the date on the, uh, August
      3            there?
      4
      5    FS:     Phone calls.
      6
      7    TC:     So -- okay. So there is -- the other communications
      8            with Mr. Paris -- and again, this was after you were
      9            taken into custody.
     10
     11    JG:     Uh-huh.
     12
     13    TC:     And I think you were out at this point.            Um, it was
     14            August 18th of 2020.
     15
     16    JG:     Yeah. That would have been the primary date and
     17            that would have just been probably like, Good luck.
     18
     19    TC:     Gotcha.
     20
     21    JG:     Yeah.
     22
     23    TC:     Okay.       Thank you.
     24
     25    JG:     Yeah.
     26
     27    SS:     All right.
     28
     29    TC:     All right.          Well, with that --
     30
     31    JG:     I hope this was helpful.
     32
     33    FS:     Joel, unintelligible).
     34
     35    TC:     Yeah.       Okay.
     36
     37    JG:     I -- I mean, sometimes I've been --
     38
     39    FS:     Okay.       Okay.       (Unintelligible).
     40
     41    JG:     -- to so many meetings, I just don't know --
     42
     43    FS:     Joel. Joel.             They're still on the recording. Let's
     44            just --
     45
     46    TC:     We -- yeah.           We -- we'll go on the --
     47
     48    FS:     -- we're done.             We're done.
     49
     50    TC:     -- with that said, um, we're going to end this

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                                                                           119
      1            interview here at 1350 hours still Thursday, June
      2            23rd, 2022.
      3
      4                               (CONCLUSION OF INTERVIEW)
      5
      6
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     39    Transcribed by: slw/slw/ms




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